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                   ATTACHMENT 1

         Redline Amended Complaint
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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                Northern Division

 KIMBERLY KUBAS                      )
 500 Benforest Drive                 )
 Severna Park, MD 21146              )
                          Plaintiff, )
                                     )
                    v.               )
                                     ) Civil Action No. 1:20-cv-2456
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            ) JURY TRIAL DEMANDED
 2120 Bell Tower Drive               )
 Crownsville, MD 21032               )
                                     )
                        Defendant. )
                                     )


                                  AMENDED COMPLAINT

       COMES NOW Kimberly Kubas (“Plaintiff”) and brings this action against Defendant

331B, LLC d/b/a Rockwell Fitness for violating Plaintiff’s rights under Title VII of the Civil

Rights Act of 1964, as amended, 42 USC § 2000e, et seq. by terminating her, after thirteen years

of service, in retaliation for complaining about sexual harassment by the gym’s General

Manager, Devin Conway.


                                         I. The Parties

       1.      Plaintiff Kimberly Kubas (hereinafter, “Ms. Kubas”) is an adult, female resident

of Severna Park, Maryland.

       2. Defendant 331B, LLC is a Maryland limited liability company. Its corporate address

is 2120 Bell Tower Drive, Crownsville, MD 21032. 331B, LLC is co-owned by Maryland State

Delegate Brian A. Chisholm (“Chisholm”) and former Delegate Sid A. Saab (“Saab”).                  Deleted: s
                                                                                                   Deleted: Sid A. Saab (“Saab”) and




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According to the business’s registration, 331B, LLC’s registered agent is Jason C. Buckel, 206

Washington Street, Cumberland, MD 21502.

        3. “Rockwell Fitness” is a trade name registered to Defendant 331B, LLC. Rockwell

Fitness is a full-service gym, with approximately 33 employees, located at 551 Baltimore

Annapolis Blvd D, Severna park, MD 21146. Prior to her unlawful termination, Ms. Kubas

worked at Rockwell Fitness (hereinafter, “RWF” or “gym”) as a part-time administrative

assistant.


                                   II. Jurisdiction and Venue

        4. This Court has jurisdiction over Plaintiff’s claim pursuant to 28 U.S.C. § 1331.

        5. Venue is proper in this judicial district pursuant to 42 U.S.C. § 2000e-5(f)(3) and 28

U.S.C. § 1391 because Plaintiff worked at RWF in Anne Arundel County and the actions and

omission giving rise to the claims asserted herein occurred in this District.


                          III. Exhaustion of Administrative Remedies

        6. Plaintiff has exhausted her administrative remedies prior to filing this lawsuit.

        7. The EEOC issued Plaintiff a Notice of Right to Sue on June 2, 2020. This lawsuit is

being filed within 90 days of Plaintiff’s receipt of this notice as required by 29 CFR § 1614.407.


                                     IV. Statement of Facts

        8. Ms. Kubas started working for RWF in 2006 in the Child Care Department under its

prior owners. She later switched into an Administrative Assistant position, where she handled

bookkeeping and other similar tasks.

        9. In or around the fall of 2016, Ms. Kubas joined a weekly small group personal

training session taught by Devin Conway, who was, at that time, the Personal Training Director



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for RWF. Though the class initially had six attendees, four individuals dropped out and the class

soon consisted of only Ms. Kubas and the husband of another employee. During these personal

training sessions Ms. Kubas was repeatedly sexually harassed by Mr. Conway. He would call

her “hot buns,” ask her to bend over so he could enjoy the view of her posterior, and simulate

masturbation using the gym’s exercise ropes. While Conway’s behavior made Ms. Kubas

uncomfortable, for a time, they had a workplace friendship and Ms. Kubas would interact with

him socially outside of the office to some degree.

       10. Mr. Conway’s behavior escalated over the next two years. At times he would

deliberately collide with Ms. Kubas and rub his body against her. Twice he closed the door to       Deleted: locked


Ms. Kubas’s office and proceeded to grope her breasts. Ms. Kubas asked him to stop in both

instances. Conway’s behavior made Ms. Kubas nervous and uncomfortable, but she feared

reporting him.                                                                                      Deleted: At this point, Ms. Kubas was unaware that Mr.
                                                                                                    Conway was treating other female employees in the same
                                                                                                    manner.…
       11. In or around August of 2017, after a night of trivia at a local bar, Ms. Kubas and Mr.

Conway had a consensual sexual encounter. Ms. Kubas disclosed the encounter to Mr. Chisholm         Deleted: has never suggested that this was anything but
                                                                                                    consensual and as will be discussed below, she
when making a complaint to him that Mr. Conway had sexually harassed her and other female           Deleted: Chisolm


employees of RWF.

       12. In September of 2018 the gym was purchased by Brian Chisholm and Said Saab,              Deleted: Chisolm


through their entity, Defendant 331B, LLC. At that time, Ms. Kubas was employed as an

Administrative Assistant, working approximately ten (10) hours a week at a rate of fourteen

dollars ($14) an hour.

       13. In November 2018, at a Thanksgiving event at RWF, Ms. Kubas was approached by

RWF employee Riley Mayer. Ms. Mayer confided in Ms. Kubas that Mr. Conway was making

her uncomfortable in the workplace by repeatedly grabbing her posterior and making sexualized




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comments about the same. Ms. Mayer’s complaints regarding Conway sounded eerily familiar

to his harassment of Ms. Kubas. Ms. Mayer quit shortly thereafter.

       14. In April of 2019 Mr. Conway became the gym’s General Manager and Ms. Kubas’s

supervisor. At this point, Conway stopped teaching Ms. Kubas’s group training session and

ceased harassing Ms. Kubas.

       15. On May 11, 2019 Ms. Kubas attended a benefit at RWF for an employee with an

autoimmune disease. There was a substantial amount of alcohol consumed during the event by

staff; in addition to having access to a bar, Chisolm was passing out vodka shots to employees in   Deleted: , in part, because
                                                                                                    Deleted: Mr.
his office. That evening, Ms. Kubas spoke with a RWF trainer named Bobbi Beers in the

women’s restroom. Ms. Beers disclosed that Conway was romantically interested in her and he

was making her feel uncomfortable at work. Ms. Beers mentioned that Conway had showed up

at her house unannounced and was flirting with her inappropriately in the workplace. While Ms.

Beers insinuated that she was interested in Conway, she also told Ms. Kubas she doubted Mr.

Conway’s character and intentions. Ms. Beers stated she was concerned about "rejecting"

Conway due to the fact that he was tasked with delegating clients to her and could easily affect

her income. In an act of solidarity, Ms. Kubas shared her own experiences with Conway,

specifically mentioning the two instances of workplace groping and their past sexual encounter

(of which Ms. Beers was already aware).

       16. That same evening, another trainer named Breanna Moore, who had recently been

promoted to Assistant Manager of RWF, also talked with Ms. Kubas and conveyed similar

experiences with Mr. Conway.

       17. After the benefit, Ms. Beers invited Ms. Kubas and a few others out for drinks at the

Taphouse in Severna Park. Ms. Beers drove herself and Ms. Kubas to the bar and they spoke




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more about how Ms. Beers could handle Conway’s advances without jeopardizing her job. Later

that evening, Ms. Beers came to Ms. Kubas’s home, where they continued their discussion. Ms.

Kubas had no reason to doubt the authenticity of Ms. Beers statements or her concerns regarding

Conway.

       18. For reasons unknown to Ms. Kubas, Ms. Beers chose to disclose her communications

with Ms. Kubas regarding Mr. Conway to him at some point prior to Ms. Kubas going to work

on May 13, 2019. When Ms. Kubas arrived at work that morning, she found Conway standoffish

and hostile towards her which made her concerned that someone had related to him the details of

her candid conversations with Ms. Beers and Ms. Moore at the event that took place two nights

prior. She reached out to Mr. Conway over text and asked him to speak with her because she

was concerned for her job.

       19. Later that day, Ms. Kubas and Mr. Conway met in Mr. Conway’s office. Mr.

Conway admitted that he was told about Ms. Kubas’s conversation with Ms. Beers. He was livid

and told Ms. Kubas that he did not want to hear another word about her allegations and that he

could not have her complaint come out against him. He told Ms. Kubas that they needed to

“sweep everything under the rug.” Conway then screamed at Ms. Kubas that if he heard that she

was talking to anyone else about the matter, there would be consequences for her.

       20. Conway’s attitude and demeanor towards Ms. Kubas became very negative and               Deleted: Shortly thereafter,


changed dramatically in retaliation for her truthful comments about his sexually harassing

behavior towards her. For example, Conway started undermining and belittling Ms. Kubas

during meetings, he would purposefully ignore her when Ms. Kubas would say good morning to

him, and go out of his way to avoid interacting with her. Mr. Conway’s attitude also appeared to




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change towards Ms. Williams, who he believed supported Ms. Kubas. Ms. Williams’ hours were

drastically cut and she resigned her position from the gym shortly thereafter.

       21. For the sake of her own safety, the safety of the other female employees of RWF, and

the health of the business, Ms. Kubas decided to report Mr. Conway’s behavior to RWF’s

owners, Chisholm and Saab. As a thirteen-year employee of the gym, Ms. Kubas was invested

in its continued success and believed that Conway posed a serious threat to the business.

       22. On or around June 1, 2019, Ms. Kubas spoke with one of the owners, Brian

Chisholm, by phone. During their conversation Ms. Kubas was forthright with Mr. Chisholm            Deleted: Chisolm


explaining that while she once had a consensual encounter with Conway approximately two

years prior, that he had sexually harassed her for years including groping her in her office. Ms.

Kubas further told Mr. Chisholm about her conversation with Ms. Beers regarding Ms. Beers’          Deleted: Chisolm


concerns with Mr. Conway. Ms. Kubas made it clear that she would like to remain anonymous,

and that she simply wanted Conway to leave her alone and allow her to do her job without issue.

Chisholm assured Ms. Kubas that he and Mr. Saab would investigate the matter and take her           Deleted: Chisolm


allegations seriously and that the complaint would remain confidential.

       23. In or around early June of 2019, Mr. Conway called Ms. Kubas into his office and

started yelling at her about an error she made on her time clock, which was normally a non-issue.

Many of the other staff regularly committed time-clock errors and there was an entire Slack         Deleted: commit such
                                                                                                    Deleted: or is currently
forum (a workplace communication platform) called “time clock” in which employees could

send in their time keeping errors/unrecorded time to management. On June 18, 2019, Conway

berated Complainant again for her time clock, telling her that she thought “she was better than

everyone else.” The next day, he stated that he had spoken with other female employees (Ms.

Moore and another employee) who told him that his behavior toward them was perfectly normal.




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At some point during this period, Chisholm admitted to Ms. Kubas that he had spoken with            Deleted: Chisolm


Conway about her allegations and disclosed that she was the source of the complaint.

       24. Ms. Kubas was afraid that Conway’s retaliatory behavior would continue. She tried

to discuss her concerns in a June 19, 2019 meeting with Mr. Chisholm, Latoya Williams (another      Deleted: Chisolm


gym employee), and Conway. In the meeting Ms. Kubas explained that she felt retaliated against

for making a complaint against Conway. Chisholm did not appear at all concerned. This upset         Deleted: Chisolm


Ms. Kubas and she politely asked to leave the meeting because she did not wish to cry in front of

her employer.

       25. That night, Ms. Kubas emailed Chisholm and Saab to formally document the                 Deleted: Chisolm


mistreatment she was being subjected to by Mr. Conway. She hoped that they would take her

allegations more seriously if she sent a written complaint. In her email, she wrote:


                I am writing to formally document the recent weeks series of
                events and what has led to where I am at the present moment.

                I want to start by saying, I truly am invested in Rockwell's
                profitability and success as a gym. Having been with the company
                for 13 years, I have formed great relationships with members as
                well as staff, that keeps me coming back each day with a smile. It
                was a pleasure to meet you two, and I can see both of you have a
                financial, as well as emotional investment in the gym as well.

                This all started May 11, 2019, after the benefit for Pete. Bobbi
                Beers asked me if I could give her any advice on how to handle
                Devin. She told me he has been acting aggressive (sexually)
                towards her, and she does not trust him. She stated she was afraid
                of losing clients if she stood up to him. I told her that she needs to
                trust her instinct, and that I have personally witnessed him doing
                the same to others, including myself.

                That Monday, May 13, Devin did not acknowledge me at all. I said
                hello, he ignored me. I asked to meet with him, at which point he
                demanded that I keep it all a secret, it never happened, and to
                sweep it under the rug. In addition, he berated me for coming




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              clean to Bobbi. I felt badly for her, and my sole intention was to let
              her know she is not trapped with this situation.

              Since then things have gotten worse. I did reach out to you, Brian.
              And I thought and thought about it, debating if it was the right
              thing to do. I was nervous and scared, but I did.

              There are at least 2 other women who have approached me with
              similar stories, and if need be I can contact them and disclose their
              identities, if they wish.

              I have felt highly uncomfortable around Devin since this came to
              light, due to the fact he is singling me out. It is without a doubt
              related to my bringing his sexual harassment to light. He berated
              me about my error in clocking in. There are plenty of times staff
              forgets to clock in, and he has never had an issue with anybody
              else previously.

              I had not clocked in properly, due to the schedule of our software
              conference calls, and providing care for my daughter during those
              times. He called me in his, office on June 18, and accused me of
              thinking I'm better than everyone, and not clocking in just to get
              him upset.

              He also admitted talking to other staff about this situation (Bree
              and Sarah). That is what I felt the most embarrassed and upset. I
              have kept this whole situation private, between you (Brian) and
              Devin. I have gone out of my way to make sure this situation is
              protected and anonymous, and I feel let down.

              I have been feeling dread and anxiety anytime I have to
              communicate with Devin, and it is taking a toll on me.

              Due to the current situation, I am requested the ability to work
              from home for the next two weeks, until I figure out how to
              proceed.

              I look forward to hearing from you.

              Take care,

       26. Chisholm wrote back to say that he and the gym’s co-owner, Saab, would investigate     Deleted: Chisolm
                                                                                                  Deleted:
the retaliation allegations and that it was perfectly fine for Ms. Kubas to work from home. Ms.

Kubas responded on June 20, 2019 stating “Thank you for your responses . . . . I simply want to



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be treated with common courtesy, and basic respect.” Ms. Kubas also indicated that she had

everything she needed to continue working from home.

       27. The following day, on June 21, 2019, around 6:00 a.m., a Rockwell Fitness employee

informed Conway that a gym member had approached him asking about Ms. Kubas’s sexual

harassment claims against Conway. The employee was under the impression that the member

had heard the rumor from Billy Williams, Latoya Butler-Williams’s husband. Conway called

Chisholm around 7:00 a.m. to inform him about the rumor. At 8:17 a.m., Chisholm sent a text

message to Plaintiff directing her to go in first thing this in the morning and make any deposits

we have, explaining, that he needed to know if he and Saab needed to deposit more money to

cover expenses. At 9:45 a.m., Ms. Kubas texted Chisholm informing him that she was at a             Deleted: Ms. Kubas received a text from Mr. Chisolm
                                                                                                    urgently asking her to come into the office that day to handle
                                                                                                    some deposits for the business to cover expenses.
doctor’s appointment for her daughter, that she would tell Chisholm the deposit amount as soon

as she could get to a computer, and that she would have the deposit at the bank by 2:00 p.m.

Although Ms. Kubas initially intended to work on the deposits when she got home, she decided

to log in at the doctor’s appointment to give Chisholm the deposit amount, due to the sense of

urgency conveyed in his request.                                                                    Deleted: At that time, Ms. Kubas was at a doctor’s
                                                                                                    appointment with her young daughter and was planning to
                                                                                                    return home and work from there after the conclusion of the
       28. Since she was performing work at the doctor’s office and had been instructed to clock    doctor’s appointment, as she had been given permission to
                                                                                                    do so by Chisolm.
in when she started working, Plaintiff clocked in remotely at 10:03 a.m. At 10:07 a.m., Plaintiff

texted Chisholm informing him the total amount to be deposited and promising to complete the

deposit immediately after the doctor’s appointment. After the appointment finished, Ms. Kubas       Deleted: Ms. Kubas responded at 9:45 am that she was at a
                                                                                                    doctor’s appointment but would work on getting the deposits
                                                                                                    done afterwards.
made the five-minute drive home and logged into the time keeping software indicating that she

was working. She then proceeded to work on the deposits for RWF which she had at her home.

She also began working on the gym membership reports Chisholm had requested the day prior.          Deleted: Ms. Kubas then drove to the gym, which is also a
                                                                                                    five-minute trip, and went to her office to finish preparing all
                                                                                                    of the deposits. Some additional checks had arrived while
She then realized that there were two additional deposits in the safe at the Gym that she needed    Ms. Kubas was out of the office and she wanted to deposit
                                                                                                    all available funds because Mr. Chisolm had indicated to her
                                                                                                    that the matter was urgent.



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to retrieve before going to the bank. At some point while she was working, Plaintiff noticed that

her software “froze.” Believing that it was a problem with her home computer, she figured that

she might as well go to the office at that point since her computer at home was not working,

there were additional deposits at work she could include and because of the urgent need for her

to deposit the money that day, per Mr. Chisholm’s instructions.                                     Deleted: Ms. Kubas was unable to log into the software at
                                                                                                    that time, so she walked to the bank and manually made the
                                                                                                    deposits that she prepared at home. At this time, Ms. Kubas
       29. Unbeknownst to Ms. Kubas at the time, the reason for her computer failure was that       believed it to be some type of IT error and was unaware that
                                                                                                    Mr. Chisolm had terminated her access to RWF’s software.
Chisholm had disabled her access to Rockwell Fitness’s system. Sometime after 10:00 a.m.,           Ms. Kubas texted Mr. Chisolm to explain that she was
                                                                                                    locked out of the software.

Chisholm notified Conway that Ms. Kubas took her daughter to the doctor and would be making

a bank deposit later that afternoon. Conway informed Chisholm that Kubas had clocked in at

10:03 a.m. Sometime after receiving Kubas’s 10:07 a.m. text message about the amount to be

deposited, Chisholm decided to disable her access. Unaware that her access had been disabled,

Ms. Kubas went to Rockwell Fitness and attempted to log in from there but could not access the

software. Ms. Kubas then texted Chisholm at 12:14 p.m. informing him that she was blocked

from accessing the information she needed and asking whether her permission level had been

changed. Plaintiff then took the deposits she was able to complete to the bank. Chisholm texted

Ms. Kubas at 12:27 p.m. confirming that Plaintiff’s permission level had been changed and

inquiring of her whereabouts. Around the same time, Chisholm texted Saab, “I am firing [Ms.

Kubas] right now.” Chisholm asked Plaintiff to come see him at the Gym. When Complainant

returned from the bank, Mr. Chisholm was waiting for her in her office. He asked her about her      Deleted: Chisolm


whereabouts and activities that morning and then asked her if she knew about a rumor that was

circulating that Conway was sexually harassing women. Ms. Kubas told Chisholm that she was          Deleted: and told her that a gym member had approached
                                                                                                    him earlier that day because he had
trying to prepare the deposits at her daughter’s doctor’s appointment that morning and that she     Deleted: heard rumors about


had no idea about the rumor. Mr. Chisholm looked angry and said that Ms. Kubas and LaToya           Deleted: Chisolm




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Butler-Williams were “a cancer” to his business and starting to make him look bad and that he       Deleted: on


could not have that. Ms. Butler-Williams was a Rockwell employee and the spouse of Billy

Williams, who is the same gym member Chisholm allegedly heard was the source of the rumor           Deleted: of
                                                                                                    Deleted: customer
that Conway was being fired due to Ms. Kubas’s accusations of sexual harassment. Mr.                Deleted: Chisolm
                                                                                                    Deleted: stating that
Chisholm further stated that Respondent had conducted an investigation and found Mr. Conway
                                                                                                    Deleted: had been

to be a “stand-up guy.” He then told Ms. Kubas to leave immediately, stating that he would pay      Deleted: accused of
                                                                                                    Deleted: Chisolm
her for two weeks.                                                                                  Deleted: In sum, Ms. Kubas was terminated for her
                                                                                                    protected activity and ordered to immediately leave the
                                                                                                    premises.
       30. After her termination Ms. Kubas was not paid as promised by Mr. Chisholm. Ms.
                                                                                                    Deleted: Chisolm

Kubas was only paid after she filed an Initial Charge of Discrimination with the EEOC. Mr.

Chisholm explained that Mr. Conway failed to include any hours for Ms. Kubas for her last           Deleted: Chisolm


paycheck. Upon information and belief, this was a further act of retaliation by Mr. Conway.         Deleted: an


Defendant continued to retaliate against Ms. Kubas by opposing her application for                  Deleted: then further retaliated


unemployment in July 2019 by falsely claiming that she was fired for "gross misconduct" for

working from home without permission. This caused Ms. Kubas to be dragged into the appeals

process which resulted in an unnecessary delay in her receipt of unemployment benefits.

                                            COUNT I:                                                Deleted: ¶
                                            Retaliation                                             ¶


       31. Plaintiff incorporates the paragraphs above as if specifically set forth herein.

       32. Title VII provides that "[i]t shall be an unlawful employment practice for an employer

to discriminate against any of his employees . . . because[s]he has opposed any practice made an

unlawful employment practice by this subchapter." 42 U.S.C. § 2000e-3(a).

       33. Plaintiff engaged in protected activity by, inter alia, complaining to her employer,

specifically co-owner Brian Chisholm about Mr. Conway’s sexual harassment of her and other

employees of RWF. Plaintiff further engaged in protected activity when she complained about



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Mr. Conway’s retaliatory conduct towards her after he learned that Ms. Kubas had complained          Deleted: she


about his harassment.                                                                                Deleted: misconduct


       34. Defendant took a materially adverse action against Ms. Kubas by unlawfully

terminating her.

       35. Defendant’s decision to terminate Ms. Kubas, who was a long tenured employee at

RWF, was based on Defendant’s retaliatory animus for Ms. Kubas’s protected activity.

       36. As a direct result of Defendants’ unlawful actions, including terminating Ms. Kubas       Deleted: ¶


for engaging in protected activity, Plaintiff felt degraded, humiliated, and embarrassed. She also

felt extreme emotions including stress, anxiety and depression over an extended period of time.

The results on her physical health, family life, and emotional well-being were significant.

Additionally, as a direct result of Defendants’ unlawful actions, Plaintiff has suffered economic

harm in the form of lost wages and benefits.

                                                                                                       Deleted: ¶
                                      V. Relief Requested                                              ¶
                                                                                                       ¶

       WHEREFORE, Plaintiff prays that the Court award Plaintiff Kimberly Kubas:

       a. back pay, lost benefits, and other pecuniary losses proximately caused by Defendant’s

           unlawful conduct;

       b. compensatory damages against Defendants in an amount to be determined by the

           jury;

       c. costs, disbursements, prejudgment interest, post-judgement interest, reasonable               Deleted: expert witness fees and


           attorney’s fees allowed under actions brought pursuant to Title VII;

       d. punitive damages; and

       e. such further relief as is deemed just and proper.




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                                       VII. Jury Demand

       Plaintiff demands a trial by jury to hear this cause.




Date: February 27, 2023                       Respectfully Submitted,                Deleted: August 25, 2020


                                              _____/s/ Sundeep Hora________
                                              Sundeep Hora (M.D. Bar. No. 28208)
                                              ALDERMAN, DEVORSETZ & HORA PLLC
                                              1025 Connecticut Ave., NW, Suite 615
                                              Washington, D.C. 20036
                                              Tel. 202.969.8220
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                                              COUNSEL FOR PLAINTIFF




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                    ATTACHMENT 2

  Plaintiff’s Exhibit List with Defendant’s
    Objections and Plaintiff’s Response
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                                               Kubas v. 331B, 1:20-cv-2456 (MJM)
                                                     Plaintiff’s Exhibit List
                                      with Defendant’s Objections and Plaintiff’s Response
                                                        Updated 2-26-23
Will Use
 Exhibit       Bates            Date (s)                        Description                      Defendant’s Objection/Pl.
     No                                                                                              Response (bold)
      1    331B 31          5/13/19              Text Exch Kubas, Conway                     Objection – Relevance
                                                                                             Pl. Resp.: Relevance will be
                                                                                             demonstrated at trial.
    2      331B 45          6/1/29-6/21/19       Kubas Time Clock June 2019                  None
    3      331B 46-47       Various              Text Exch Kubas, Chisholm                   None
    4      331B 61          6/4/19               Email L. Butler-Williams to Chisholm        Objection – Hearsay
                                                                                             Pl. Resp.: Not being offered for
                                                                                             the truth of the matters
                                                                                             asserted; Rule 803(3) (motive,
                                                                                             intent)
    5      331 B 64-120                          331B LLC 2018 Tax return                    Objection – Relevance
                                                                                             Pl. Resp.: Relevance will be
                                                                                             demonstrated at trial.
    6      331 B 121-177                         331B LLC 2019 tax return                    Objection – Relevance
                                                                                             Pl. Resp.: Relevance will be
                                                                                             demonstrated at trial.
    7      331B 194-198     6/19/19-6/21/19      Email Exch Kubas, Chisholm, Saab            None
    8      331 B 1267       6/21/19              Text Chisholm to Saab                       None
    9      331 B 1291-      6/17/19-6/21/19      Text Exch Chisholm and Kubas                None
           1292
   10      331 B 1337       6/2/19               Text Chisholm to Saab                       Objection – Relevance
                                                                                             Pl. Resp.: Relevance will be
                                                                                             demonstrated at trial.



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    11     PL 10             6/17/19-6/18/19   Text Exch Kubas, Conway                 Objection to handwritten
                                                                                       notations. Relevance.
                                                                                       Pl. Resp.: Relevance will be
                                                                                       demonstrated at trial. Plaintiff
                                                                                       can authenticate handwritten
                                                                                       notations.

May Use
 Exhibit       Bates              Date (s)                   Description                   Defendant’s Objection
   No
   12      331B 18-22        12/20/19          Conway Affidavit (for impeachment)      None
   13      331B 23-25        No Date           Beers Affidavit (unsigned) (for         None
                                               impeachment)
   14      331B 26-28        12/23/19          Moore Affidavit (for impeachment)       None
   15      331B 29-30        12/3/19           C. Conway Affidavit (for impeachment)   None
   16      331B 643-652      12/11/19          Chisholm Affidavit with attached        None
                                               emails(for impeachment)
   17      331 B 48-49       Various           Text Exch Kubas, Chisholm               None
   18      331 B 50          Various           Text Exch Chisholm, B. Williams         Objection to Hearsay (Billy
                                                                                       Williams)
                                                                                       Pl. Resp.- Not being offered for
                                                                                       the truth of the matters
                                                                                       asserted; Rule 803(3) (motive,
                                                                                       intent of Chisholm) (mental
                                                                                       feeling of Williams); 807
   19      331B 206-222  4/18/19-2/15/21       “hourcorrection” slack forum            None
   20      331B 245-0273 9/9/18-9/8/19         Butler-Williams Pay Stubs               None
   21      Summary       9/9/18-9/8/19         Butler-Williams Pay Stubs Summary       None
                                               (331B 245-0273)
   22      331 B 284-290     7/24/19-          Text Exch Chisholm, Chandler (subj to   Objection – Hearsay (Trista
                                               redactions)                             Chandler) / Relevance


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                                                                                Pl. Resp.- Not being offered for
                                                                                the truth of the matters
                                                                                asserted; Rule 803(3) (motive,
                                                                                intent); ; 807; Relevance will be
                                                                                demonstrated at trial.
23   331B 291-299    7/24/19-9/9/19   Text Exch Chisholm, Mayer (subj to        Objection – Hearsay (R. Mayer) /
                                      redactions)                               Relevance
                                                                                Pl. Resp.- Not being offered for
                                                                                the truth of the matters
                                                                                asserted; Rule 803(3) (motive,
                                                                                intent); 807; Relevance will be
                                                                                demonstrated at trial.
24   331 B 309-310                    Text Exch Chisholm, Conway (need better   Objection – Hearsay (Conway) /
                                      version with date)                        Relevance
                                                                                Pl. Resp.- Not being offered for
                                                                                the truth of the matters
                                                                                asserted; Rule 803(3) (motive,
                                                                                intent); 807 Relevance will be
                                                                                demonstrated at trial.
25   331 B 592       7/30/19          Unemployment denial letter                None
26   331 B 662-664                    Chisholm Timeline Statement               None
27   331 B 704-708   9/10/20          Email Conway to Chisholm re complaint     Objection – Hearsay / Relevance
                                                                                Pl. Resp.- Not being offered for
                                                                                the truth of the matters
                                                                                asserted; Rule 803(3) (motive,
                                                                                intent); 807 Relevance will be
                                                                                demonstrated at trial.
28   331B 725        9/9/20           Email Chisholm to Mayer                   Objection – Relevance
                                                                                Pl. Resp.: Relevance will be
                                                                                demonstrated at trial.
29   331 B 742       9/9/20           Email Chisholm to Beers                   Objection – Relevance


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                                                                                   Pl. Resp.: Relevance will be
                                                                                   demonstrated at trial.
30   331 B 759        9/9/20          Email Chisholm to Chandler                   Objection – Relevance
                                                                                   Pl. Resp.: Relevance will be
                                                                                   demonstrated at trial.
31   331 B 776        9/9/20          Email Chisholm to Moore                      Objection – Relevance
                                                                                   Pl. Resp.: Relevance will be
                                                                                   demonstrated at trial.
32   331 B 805-808    7/18/19         EEOC Notice of Charge of Discrimination      Objection – Relevance
                                                                                   Pl. Resp.: Relevance will be
                                                                                   demonstrated at trial.
33   331 B 809        9/2/20          Email Chisholm to Moore, Saab and            Objection – Relevance
                                      others                                       Pl. Resp.: Relevance will be
                                                                                   demonstrated at trial.
34   331 B 813-818    7/25/19         Email Exch Chisholm, Conway                  Objection – Relevance
                                                                                   Pl. Resp.: Relevance will be
                                                                                   demonstrated at trial.
35   331 B 819-827    7/19/19         Email Exch Chisholm and Y. Anisal, Div. of   Objection – Relevance
                                      MD Unemployment                              Pl. Resp.: Relevance will be
                                                                                   demonstrated at trial.
36   331 B 840        7/19/19         Email Conway to Chisholm                     Objection – Relevance
                                                                                   Pl. Resp.: Relevance will be
                                                                                   demonstrated at trial.
37   331 B 844        6/19/19         Email Exch Conway, Chisholm                  None
38   331 B 855        6/5/19          Email Exch Conway, Chisholm                  None
39   331 B 1072       5/31/19         Email Butler-Williams to Chisholm            Objection – Hearsay
                                                                                   Pl. Resp.- Not being offered for
                                                                                   the truth of the matters
                                                                                   asserted; Rule 803(3) (Then-
                                                                                   existing mental, emotional, or
                                                                                   physical condition, motive,


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                                                                                  intent); 807 Relevance will be
                                                                                  demonstrated at trial.
40   331 B 1075        6/19/19           Email Exch Chisholm, Saab                None
41   331 B 1232        8/29/19           Text Conway to Chisholm                  Objection – Hearsay
                                                                                  Pl. Resp.- Not being offered for
                                                                                  the truth of the matters
                                                                                  asserted; 803(3) Then existing
                                                                                  mental, emotional condition,
                                                                                  motive, intent.
42   331 B 1264        6/19/19-7/9/19    Text Chisholm to Saab                    None
43   331 B 1276        6/21/19-8/29/19   Text Conway to Chisholm                  Objection – Hearsay
                                                                                  Pl. Resp.- Not being offered for
                                                                                  the truth of the matters
                                                                                  asserted; 803(3) Then existing
                                                                                  mental, emotional condition,
                                                                                  motive, intent.
44   331 B 793-797     11/13/19          Email Chisholm to Crowell and Benedick   Objection – Relevance
                                                                                  Pl. Resp.: Relevance will be
                                                                                  demonstrated at trial.
45   331 B 1284-       6/12/19-9/9/20    Text Exch Chisholm, Conway               None
     1286
46   331 B 1295        6/19/19-8/19/19   Text Exch Chisholm, Saab                 None
47   331B 1317         6/4/19-6/19/19    Text Exch Chisholm, Saab                 None
48   331 B 1344        6/19/19-8/25/19   Text Conway to Chisholm                  None
49   331 B 1659        8/21/19           Email Chisholm to Conway                 None
50   331 B 1660        6/9/20            Email Exch Conway Chisholm               None
51   PL 1              4/4/19-5/13/19    Text Exch Beers, Kubas                   Objection – Hearsay
                                                                                  Pl. Resp.- Not being offered for
                                                                                  the truth of the matters
                                                                                  asserted



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52   PL 15-16         4/24/19           Text Exch Kubas, Conway             Objection – Hearsay
                                                                            Pl. Resp.- Not being offered for
                                                                            the truth of the matters
                                                                            asserted; 803(6)(c)
53   PL 17-21         6/19/19-6/21/19   Text Exch Kubas, Salemi             Objection – Hearsay
                                                                            Pl. Resp.- Not being offered for
                                                                            the truth of the matters
                                                                            asserted; 803(3) Then existing
                                                                            mental, emotional condition.
54   PL 22-50         Various           Text Exch Kubas, Butler-Williams    Objection – Hearsay
                                                                            Pl. Resp.- Not being offered for
                                                                            the truth of the matters
                                                                            asserted; 803(6)(c)
55   PL 51-54         5/11/19-5/13/19   Text Exch Kubas, Moore              Objection – Hearsay
                                                                            Pl. Resp.- Not being offered for
                                                                            the truth of the matters
                                                                            asserted; 803(1) Present sense
                                                                            impression; 803(3) Then
                                                                            existing mental, emotional
                                                                            condition.
56   PL 61-62         7/5/19            Email Exch Kubas, Chisholm          Objection – Relevance
                                                                            Pl. Resp.: Relevance will be
                                                                            demonstrated at trial.
57   PL 106-108       7/15/19           Unemployment Fact Finding Report    None
58   PL 120-121       CONFIDENTIAL      Schedule 1 2019 Kubas Tax Return    None
                                        (redacted)
59   PL 338-440       CONFIDENTIAL      2018 Kubas Tax Returns (redacted)   None
60   PL 441-571       CONFIDENTIAL      2019 Kubas Tax Returns (redacted)   None
61   PL 467-474       CONFIDENTIAL      2020 Tax Documents                  None
62   PL 580-593       12/12/19          Kubas Medical Records               Objection – Hearsay, Expert
                      CONFIDENTIAL                                          Opinion, Foundation


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                                                                              Pls. Resp.- Foundation will be
                                                                              laid at trial; 803(4); 803(6).

63   PL 594                           Audio recording of Unemployment         Objection – Relevance
                                      Appeal                                  Pl. Resp.: Relevance will be
                                                                              demonstrated at trial.
64                                    Complaint                               None
65                                    Answer to Complaint                     None
66                                    Defendant’s Responses to Plaintiff’s    None
                                      Interrogatories
67                                    Plaintiff’s Responses to Defendant’s    None
                                      Interrogatories
68   331 B 278-282    Various         Text Exch Chisholm, Chandler (subj to   Objection – Hearsay, Relevance
                                      redactions)                             Pl. Resp.- Not being offered for
                                                                              the truth of the matters
                                                                              asserted; 803(1) Present sense
                                                                              impression; 803(3) Then
                                                                              existing mental, emotional
                                                                              condition.
69   331 B 314-316    Various         Text Exch Chisholm, Conway (subj to     Objection – Hearsay
                                      redactions)                             Pl. Resp.- Not being offered for
                                                                              the truth of the matters
                                                                              asserted; 803(3) Then existing
                                                                              mental, emotional condition.
70   331 B 628        2/27/21         Email to Chisholm referencing           None
                                      attachments.
71   331 B 1161       5/18/21         Text Exch Chisholm, Chandler (subj to   Objection – Hearsay, Relevance
                                      redactions)                             Pl. Resp.- Not being offered for
                                                                              the truth of the matters
                                                                              asserted; Admission of a party
                                                                              opponent; 803(3) Then existing


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                                                                                 mental, emotional condition;
                                                                                 Relevance will be
                                                                                 demonstrated at trial.
72   331 B 1216                       Text Exch Chisholm, Chandler               Objection – Hearsay, Relevance
                                                                                 Pl. Resp.- Not being offered for
                                                                                 the truth of the matters
                                                                                 asserted; admission of a party
                                                                                 opponent; 803(3) Then existing
                                                                                 mental, emotional condition;
                                                                                 Relevance will be
                                                                                 demonstrated at trial.
73   331 B 1227       2/27/19         Text Butler-Williams to Chisholm           Objection – Hearsay, Relevance
                                                                                 Pl. Resp.- Not being offered for
                                                                                 the truth of the matters
                                                                                 asserted; 803(3) Then existing
                                                                                 mental, emotional condition;
                                                                                 Relevance will be
                                                                                 demonstrated at trial.
74   331 B 1233       2/27/21         Text Exch Chisholm, Butler-Williams        Objection – Hearsay, Relevance
                                                                                 Pl. Resp.- Not being offered for
                                                                                 the truth of the matters
                                                                                 asserted; 803(3) Then existing
                                                                                 mental, emotional condition;
                                                                                 Relevance will be
                                                                                 demonstrated at trial.
75   331 B 1262       1/24/21         Text Chisholm to J. Souders and B. Moore   Objection – Hearsay, Relevance
                                                                                 Pl. Resp.- Not being offered for
                                                                                 the truth of the matters
                                                                                 asserted; admission of a party
                                                                                 opponent; 803(3) Then existing
                                                                                 mental, emotional condition;


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                                                                                Relevance will be
                                                                                demonstrated at trial.
76   331 B 1263,       2/27/21            Text Exch Chisholm, Butler-Williams   Objection – Hearsay, Relevance
     1313                                                                       Pl. Resp.- Not being offered for
                                                                                the truth of the matters
                                                                                asserted; 803(3) Then existing
                                                                                mental, emotional condition;
                                                                                Relevance will be
                                                                                demonstrated at trial.
77   331 B 1297        7/24/19-12/19/19   Text Exch Chisholm, Chandler          Objection – Hearsay, Relevance
                                                                                Pl. Resp.- Not being offered for
                                                                                the truth of the matters
                                                                                asserted; admission of a party
                                                                                opponent; 803(3) Then existing
                                                                                mental, emotional condition;
                                                                                Relevance will be
                                                                                demonstrated at trial.
78   331 B 1304-       12/19/19-4/25/21   Text Exch Chisholm, Conway             Objection – Hearsay, Relevance
     1306                                                                       Pl. Resp.- Not being offered for
                                                                                the truth of the matters
                                                                                asserted; admission of a party
                                                                                opponent; 803(3) Then existing
                                                                                mental, emotional condition;
                                                                                Relevance will be
                                                                                demonstrated at trial.
79   331 B 1312        7/24/19-9/9/20     Text Exch Chisholm, Chandler          Objection – Hearsay, Relevance
                                                                                Pl. Resp.- Not being offered for
                                                                                the truth of the matters
                                                                                asserted; admission of a party
                                                                                opponent; 803(3) Then existing
                                                                                mental, emotional condition;


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                                                                                Relevance will be
                                                                                demonstrated at trial.
80   331 B 1316       2/27/21-3/23/21   Text Exch Chisholm, Butler-Williams     Objection – Hearsay, Relevance
                                        (subject to redactions)                 Pl. Resp.- Not being offered for
                                                                                the truth of the matters
                                                                                asserted; 803(3) Then existing
                                                                                mental, emotional condition;
                                                                                Relevance will be
                                                                                demonstrated at trial.
81   331 B 1328       9/9/20            Text Exch Chisholm, Chandler            Objection – Hearsay, Relevance
                                                                                Pl. Resp.- Not being offered for
                                                                                the truth of the matters
                                                                                asserted; admission of a party
                                                                                opponent; 803(3) Then existing
                                                                                mental, emotional condition;
                                                                                Relevance will be
                                                                                demonstrated at trial.
82                                      Screenshot 2023-02-11 at 7.51.21 PM-    Objection – Hearsay, Relevance,
                                        Chandler Facebook                       Authenticity
                                                                                Pl. Resp.- Not being offered for
                                                                                the truth of the matters
                                                                                asserted; admission of a party
                                                                                opponent; Business Record
                                                                                exception; Relevance and
                                                                                authenticity will be
                                                                                demonstrated at trial.
83   331 B 1330       2/28/21           Text Msg Chisholm to Saab, Buckel and   Objection – Hearsay, Relevance
                                        others                                  Pl. Resp.- Not being offered for
                                                                                the truth of the matters
                                                                                asserted; admission of a party
                                                                                opponent; 803(3) Then existing


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                                                       mental, emotional condition;
                                                       Relevance will be
                                                       demonstrated at trial.




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                      ATTACHMENT 3

Plaintiff’s Proposed Additional Jury Instructions
      Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 28 of 127



                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

            PLAINTIFF’S PROPOSED ADDITIONAL JURY INSTRUCTIONS

       Plaintiff Kimberly Kubas, through undersigned counsel, pursuant to Rule 51 of the Federal

Rules of Civil Procedure and Local Rule 106.8, respectfully submits the following proposed

additional jury instructions:

             NO.                                              TITLE
               1                Inference Defined
               2                Bias
               3                Discrepancies in Testimony
               4                Impeachment by Prior Inconsistent Statements
               5                Title VII Retaliation Claim
               6                Plaintiff Need Not Show that Retaliation was the Sole Factor
                                in Defendant’s Decision to Terminate Her
               7                Pretext
               8                Proof of Retaliation
               9                Sexual Harassment Complaint Need Not Be Meritorious to
                                Prove a Retaliation Claim Under Title VII
              10                Evidence of Timing in Proving Retaliation
              11                Compensatory Damages-Retaliation
              12                Punitive Damages




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                                     INSTRUCTION NO. 1

                                        Inference Defined

During the trial you have heard the attorneys use the term “inference,” and in their arguments they
have asked you to infer, on the basis of your reason, experience, and common sense, from one or
more established facts, the existence of some other fact.

An inference is not a suspicion or a guess. It is a reasoned, logical conclusion that a disputed fact
exists on the basis of another fact which has been shown to exist.

There are times when different inferences may be drawn from facts, whether proved by direct or
circumstantial evidence. The plaintiff asks you to draw one set of inferences, while the defense
asks you to draw another. It is for you, and you alone, to decide what inferences you will draw.

The process of drawing inferences from facts in evidence is not a matter of guesswork or
speculation. An inference is a deduction or conclusion which you, the jury, are permitted to draw—
but not required to draw—from the facts which have been established by either direct or
circumstantial evidence. In drawing inferences, you should exercise your common sense.

So, while you are considering the evidence presented to you, you are permitted to draw, from the
facts which you find to be proven, such reasonable inferences as would be justified in light of your
experience.


Modern Federal Jury Instructions-Civil 75-1 (2022)




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                                      INSTRUCTION NO. 2

                                                Bias

In deciding whether to believe a witness, you should specifically note any evidence of hostility or
affection that the witness may have towards one of the parties. Likewise, you should consider
evidence of any other interest or motive that the witness may have in cooperating with a particular
party.

It is your duty to consider whether the witness has permitted any such bias or interest to color her
testimony. In short, if you find that a witness is biased, you should view her testimony with caution,
weigh it with care, and subject it to close and searching scrutiny.


Modern Federal Jury Instructions-Civil 76-2 (2022)




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                                      INSTRUCTION NO. 3

                                   Discrepancies in Testimony

You have heard evidence of discrepancies in the testimony of certain witnesses, and counsel have
argued that such discrepancies are a reason for you to reject the testimony of those witnesses.

You are instructed that evidence of discrepancies may be a basis to disbelieve a witness’s
testimony. On the other hand, discrepancies in a witness’s testimony or between her testimony and
that of others do not necessarily mean that the witness’s entire testimony should be discredited.

People sometimes forget things and even a truthful witness may be nervous and contradict [herself]
themself. It is also a fact that two people witnessing an event [will] may see or hear it differently.
Whether a discrepancy pertains to a fact of importance or only to a trivial detail should be
considered in weighing its significance; but a willful falsehood always is a matter of importance
and should be considered seriously.

It is for you to decide, based on your total impression of the witness, how to weigh the
discrepancies in [her] their testimony. You should, as always, use common sense and your own
good judgment.



Modern Federal Jury Instructions-Civil 76-4 (2022)




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                                     INSTRUCTION NO. 4

                        Impeachment by Prior Inconsistent Statements

You have heard evidence that at some earlier time the witness has said or done something that
counsel argues is inconsistent with the witness’s trial testimony.

Evidence of a prior inconsistent statement is not to be considered by you as affirmative evidence
in determining liability. Evidence of a prior inconsistent statement was placed before you for the
more limited purpose of helping you decide whether to believe the trial testimony of the witness
who contradicted herself. If you find that the witness made an earlier statement that conflicts with
his or her trial testimony, you may consider that fact in deciding how much of [her] their trial
testimony, if any, to believe.

In making this determination, you may consider whether the witness purposely made a false
statement or whether it was an innocent mistake; whether the inconsistency concerns an important
fact, or whether it had to do with a small detail; whether the witness had an explanation for the
inconsistency, and whether that explanation appealed to your common sense.

It is exclusively your duty, based on all the evidence and your own good judgment, to determine
whether the prior statement was inconsistent, and if so, how much, if any, weight to give to the
inconsistent statement in determining whether to believe all or part of the witness’s testimony.



Modern Federal Jury Instructions-Civil 76-5 (2022)




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                                      INSTRUCTION NO. 5

                                    Title VII Retaliation Claim

To make out her claim of retaliation, Plaintiff must prove, by a preponderance of the evidence,
each of the following essential elements:

    First: [That the plaintiff complained of discrimination in her employment, specifically [specify
    the protected activity]]. That the plaintiff engaged in protected activity, that is, at the time she
    made her complaints, she held a reasonable good faith belief that her complaints of sexual
    harassment and retaliation by Mr. Conway violated the law;*

    Second: That the plaintiff was then subjected to a material adverse action by the defendant,
    specifically her termination; and

    Third: [That the plaintiff’s complaint was the critical element in the defendant’s decision to
    take the adverse action]. That the adverse employment action would not have occurred but for
    the protected activity.

With respect to the second element, an adverse action is “material,” in terms of a retaliation claim,
if it might have discouraged a reasonable worker from complaining about similar harassment or
retaliation. [The adverse action itself, however, need not be related to the plaintiff’s employment].

With respect to the third element, [it must be the case that the defendant would not have taken the
adverse action except as a response to the plaintiff’s protected activity.] the defendant must have
taken the adverse action because of an intent to retaliate against the plaintiff for complaining about
retaliation and sexual harassment.



Modern Federal Jury Instructions-Civil (2022) 88-46 (modified)


*
 Authorities for modification: Adams v. Giant Food, Inc., 225 F. Supp. 2d 600, 606 (D. Md. 2002)
(“[A] plaintiff bringing a claim under the opposition clause of Title VII need not establish that the
employment practice he opposed in fact violated Title VII. See Ross v. Communications Satellite
Corp., 759 F.2d 355, 357 n.1 (4th Cir. 1985), abrogated on other grounds by, Price Waterhouse
v. Hopkins, 490 U.S. 228, 104 L. Ed. 2d 268, 109 S. Ct. 1775 (1989); see also Dea v. Washington
Suburban Sanitary Comm'n, 11 Fed. Appx. 352, 2001 WL 672046, *3 (4th Cir. 2001)
(unpublished). The plaintiff must, however, at a minimum have held a reasonable good faith belief
at the time he opposed an employment practice that the practice was violative of Title VII. See
Dea, 11 Fed. Appx. 352, 2001 WL 672046, at *3 (citing Little v. United Techs., 103 F.3d 956
(11th Cir. 1997)).




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                                      INSTRUCTION NO. 6

               Plaintiff Need Not Show that Retaliation was the Sole Factor in
                           Defendant’s Decision to Terminate Her

Plaintiff must show by a preponderance of the evidence, that when she was terminated by
Defendant, it was because of retaliation. This means that protected activity was a necessary factor
in the defendant's decision, without which that decision would not have been made. “Because of”
retaliation means in part that the plaintiff need not prove that her protected activities were the only
factor behind her termination. However, she must prove by direct or indirect evidence that but-for
those activities, she would not have been terminated.



Authorities

Burrage v. United States, 134 S. Ct. 881, 888-889, 892 (Jan. 27, 2014) (emphasis in original)
(Ginsburg, J., concurring); Univ. of Tex. Southwestern Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2533
(U.S. 2013); Univ. of Tex. Southwestern Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2547 (U.S. 2013)
(Ginsburg, J. dissenting); Price-Waterhouse v. Hopkins, 490 U.S. 228, 241 n.7 (1989) (noting that
Congress “specifically rejected an amendment that would have placed ‘solely’ in front of the words
‘because of’” in Title VII); Foster v. Univ. of Maryland-Eastern Shore, 787 F.3d 243, 249 (4th
Cir. Md. 2015); Kwan v. Andalex Grp. LLC, 737 F.3d 834, 846 n. 5 (2d Cir. 2013); Ponce v.
Billington, 679 F.3d 840, 846 (D.C. Cir. 2012) (“[W]e never said—nor could we given McDonald
v. Santa Fe Transp. Co., 427 U.S. 273, 282 n.10 (1976) that a plaintiff in a but-for case must show
that an adverse employment action occurred solely because of a protected characteristic.”) (citing
Porter v. Natsios, 414 F.3d 13, 18 (D.C. Cir. 2005) (“the statutory phrase ‘because of’ does not
mean ‘solely because of.’’”) (quoting Price Waterhouse, 490 U.S. at 241)).




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                                      INSTRUCTION NO. 7

                                               Pretext

Plaintiff may also prove, by a preponderance of the evidence, through direct or circumstantial
evidence, that the defendant's stated reason to terminate her is false or a pretext for [discrimination]
retaliation by persuading you that the defendant's offered reason is not believable or that it was not
the true reason why it fired Plaintiff. If you find that the defendant's offered reason was false or
pretextual, the law allows you to infer that the defendant had a [discriminatory] retaliatory motive
and you may find for the plaintiff for this reason alone, although you are not required to do so.



ABA Model Jury Instructions Employment Litigation 1.02[3][a] (modified)

Authorities

Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133 (2000); Hagelthorn v. Kennecott
Corp., 710 F. 2d 76 (2nd Cir. 1983); Fuentes v. Perskie, 32 F. 3d 759 (3rd Cir. 1994); Ratliff v.
City of Gainesville, 256 F. 3d 355 (5th Cir. 2001); Kline v. TVA, 128 F 3d 337 (6th Cir. 1997);
Morgan v. Hilti, Inc., 108 F.3d 1319 (10th Cir. 1997).




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                                     INSTRUCTION NO. 8

                                       Proof of Retaliation

Ms. Kubas may prove her retaliation case through direct evidence, circumstantial evidence, or
both. Direct evidence of retaliation is evidence of remarks or actions that, if believed, would prove
that Defendant’s termination of her was caused by Ms. Kubas’s protected activity.

Indirect -- or circumstantial -- evidence may include proof of a set of circumstances that would
warrant your inferring that Plaintiff’s expression of opposition to what she believed to be
harassment and retaliation caused the adverse employment action.

Circumstantial evidence of retaliation can be shown by suspicious timing of events, negative
statements about Plaintiff, ambiguous or contradictory oral or written statements, or other bits and
pieces of information from which retaliatory intent might be shown. Evidence of a pattern of
retaliatory conduct occurring soon after a complaint is made may also warrant an inference of
retaliatory motive.


Authorities

Federal Employment Jury Instructions Par. 1:300 (1999)
42 U.S.C. Sec. 2000e-2(m)
McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973)
Carter v. Ball, 39 F.3d 450, 460 (4th Cir. 1994)




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                                      INSTRUCTION NO. 9

              Sexual Harassment Complaint Need Not Be Meritorious To Prove a
                             Retaliation Claim Under Title VII

You need not find that Plaintiff would have prevailed on her sexual harassment complaint in order
to find that she has proved her claim of retaliation under Title VII.



Authorities

Ford v. Rigidply Rafters, 999 F. Supp. 647, 649 (D. Md. 1998) (“it is well-settled in the Fourth
Circuit that a Title VII plaintiff alleging unlawful Title VII retaliation need not prove the
underlying claim of sexual harassment to prevail upon the retaliation claim.” (citing Hopkins v.
Baltimore Gas & Elec. Co., 77 F.3d 745, 754 (4th Cir.), cert. denied, 519 U.S. 818, 136 L. Ed. 2d
30, 117 S. Ct. 70 (1996); Kralowec v. Prince George's County, 503 F. Supp. 985, 1008 (D. Md.
1980), aff'd, 679 F.2d 883 (4th Cir. 1982) (holding that if the plaintiff proves his reasonable belief
that sexual harassment occurred, he may maintain his retaliation claim.); see also, Sullivan v. Nat'l
R.R. Passenger Corp., 170 F.3d 1056, 1059 (11th Cir. 1999) ("[R]etaliation is a separate offense
under Title VII; an employee need not prove the underlying claim of discrimination for the
retaliation claim to succeed"); Hankins v. AirTran Airways, Inc., 237 F. App'x. 513, 519 (11th Cir.
2007) (same).




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                                    INSTRUCTION NO. 10

                          Evidence of Timing in Proving Retaliation

In considering whether Defendant has engaged in unlawful retaliation against Ms. Kubas in
violation of Title VII of the Civil Rights Act of 1964, you may rely upon the proximity in time
between the activities constituting protected opposition to harassment and retaliation, and the
alleged retaliatory action of Defendant.



Authorities

Plaintiff may demonstrate that “the adverse act bears sufficient temporal proximity to the protected
activity.” Johnson v. United Parcel Serv., Inc., 839 F. App’x 781, 784 (4th Cir. 2021)) (citing
Clark Cnty. Sch. Dist. v. Breeden, 532 U.S. 268, 273‒74 (2001)). The Fourth Circuit has “made
abundantly clear” that, at the prima facie stage, “temporal proximity suffices to show a causal
relationship.” Sempowich v. Tactile Sys. Tech., Inc., 19 F.4th 643, 654 (4th Cir. 2021) (citing
Strothers v. City of Laurel, Maryland, 895 F.3d 317, 335 (4th Cir. 2018)). “An employee may
establish prima facie causation simply by showing that (1) the employer either understood or
should have understood the employee to be engaged in protected activity and (2) the employer
took adverse action against the employee soon after becoming aware of such activity.” Strothers,
895 F.3d at 335‒36.




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                                    INSTRUCTION NO. 11

                              Compensatory Damages-Retaliation

If you find that Defendant acted unlawfully, you may award the Plaintiff an amount for her
compensatory damages. You may award damages for any pain, suffering or mental anguish that
Plaintiff experienced as a consequence of the retaliation. You are instructed that mental anguish is
not presumed simply because Plaintiff may be a victim of retaliation. Plaintiff must prove the
existence, nature and severity of any mental anguish that she suffered by a preponderance of the
evidence,. Any award you make should be fair in light of the evidence presented at trial.

In determining the amount of damages that you decide to award, you should be guided by
dispassionate common sense. You must use sound discretion in fixing an award of damages,
drawing reasonable inferences from the facts in evidence. You may not award damages based on
sympathy, speculation, or guess work. On the other hand, the law does not require that the plaintiff
prove the amount of her losses with mathematical precision, but only with as much definiteness
and accuracy as the circumstances permit.


Authorities

3 Devitt, Blackmar, and Wolff, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 104.05
(West Supp. 1997); Proposed Pattern Civil Jury Instructions for the Seventh Circuit; Kyles v. J.K.
Guardian Securities Services, Inc., 222 F.3d 289, 300 (7th Cir. 2000).




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                                     INSTRUCTION NO. 12

                                         Punitive Damages

Plaintiff is also requesting an award of punitive damages against Defendant. Punitive damages are
damages above and beyond the amount that you may award for compensatory or nominal damages.
Punitive damages are awarded to punish the Defendant and to deter Defendant and others from
engaging in similar conduct in the future.

You may award punitive damages only if you find that the act or acts of the Defendant were
malicious, or in willful, wanton or reckless disregard of Plaintiff’s rights. Malice, or wrongful
motive, is a state of mind. It may be proven by circumstantial evidence, that is, it may be inferred
from the acts of the Defendant or by direct evidence such as statements, either written or oral,
made by the Defendant. You may award such additional sum for punitive damages if you find that
the unlawful conduct to which the plaintiff was subjected caused her economic damage,
embarrassment, humiliation, or indignity. This standard does not require "a showing of egregious
or outrageous [retaliation]," but rather proof that the employer retaliated "in the face of a perceived
risk that its actions [would] violate federal law."

If you find that the plaintiff is entitled to an award of punitive damages, you should consider the
following factors in determining the appropriate amount to award: the seriousness of the
defendant’s conduct, its state of mind when committing the retaliation, the extent of its malice
towards Plaintiff, and how much you wish to deter similar actions by them or other employers in
the future.


Authorities

Kolstad v. American Dental Ass'n, 527 U.S. 526, 535-36 (1999); Gallina v. Mintz, 123 Fed. Appx.
558, 564 (4th Cir. 2005); Howard University v. Best, 484 A.2d 958 (D.C. 1984).




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                     ATTACHMENT 3a

Defendant’s Objections and Plaintiff’s Reply to
    Plaintiff’s Proposed Jury Instructions
      Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 42 of 127



                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

            PLAINTIFF’S PROPOSED ADDITIONAL JURY INSTRUCTIONS
                 [With Defendant’s Objection and Plaintiff’s Response]

       Plaintiff Kimberly Kubas, through undersigned counsel, pursuant to Rule 51 of the Federal

Rules of Civil Procedure and Local Rule 106.8, respectfully submits the following proposed

additional jury instructions:

             NO.                                          TITLE
              1                 Inference Defined
              2                 Bias
              3                 Discrepancies in Testimony
              4                 Impeachment by Prior Inconsistent Statements
              5                 Title VII Retaliation Claim-Defendant’s Objection below
              6                 Plaintiff Need Not Show that Retaliation was the Sole Factor
                                in Defendant’s Decision to Terminate Her-Defendant’s
                                Objection below
               7                Pretext
               8                Proof of Retaliation-Defendant’s Objection below
               9                Sexual Harassment Complaint Need Not Be Meritorious to
                                Prove a Retaliation Claim Under Title VII-Defendant’s
                                Objection below
              10                Evidence of Timing in Proving Retaliation-Defendant’s
                                Objection below
              11                Compensatory Damages-Retaliation--Defendant’s Objection
                                below
              12                Punitive Damages-Defendant’s Objection below


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                                     INSTRUCTION NO. 1

                                        Inference Defined

During the trial you have heard the attorneys use the term “inference,” and in their arguments they
have asked you to infer, on the basis of your reason, experience, and common sense, from one or
more established facts, the existence of some other fact.

An inference is not a suspicion or a guess. It is a reasoned, logical conclusion that a disputed fact
exists on the basis of another fact which has been shown to exist.

There are times when different inferences may be drawn from facts, whether proved by direct or
circumstantial evidence. The plaintiff asks you to draw one set of inferences, while the defense
asks you to draw another. It is for you, and you alone, to decide what inferences you will draw.

The process of drawing inferences from facts in evidence is not a matter of guesswork or
speculation. An inference is a deduction or conclusion which you, the jury, are permitted to draw—
but not required to draw—from the facts which have been established by either direct or
circumstantial evidence. In drawing inferences, you should exercise your common sense.

So, while you are considering the evidence presented to you, you are permitted to draw, from the
facts which you find to be proven, such reasonable inferences as would be justified in light of your
experience.


Modern Federal Jury Instructions-Civil 75-1 (2022)




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                                      INSTRUCTION NO. 2

                                                Bias

In deciding whether to believe a witness, you should specifically note any evidence of hostility or
affection that the witness may have towards one of the parties. Likewise, you should consider
evidence of any other interest or motive that the witness may have in cooperating with a particular
party.

It is your duty to consider whether the witness has permitted any such bias or interest to color her
testimony. In short, if you find that a witness is biased, you should view her testimony with caution,
weigh it with care, and subject it to close and searching scrutiny.


Modern Federal Jury Instructions-Civil 76-2 (2022)




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                                      INSTRUCTION NO. 3

                                   Discrepancies in Testimony

You have heard evidence of discrepancies in the testimony of certain witnesses, and counsel have
argued that such discrepancies are a reason for you to reject the testimony of those witnesses.

You are instructed that evidence of discrepancies may be a basis to disbelieve a witness’s
testimony. On the other hand, discrepancies in a witness’s testimony or between her testimony and
that of others do not necessarily mean that the witness’s entire testimony should be discredited.

People sometimes forget things and even a truthful witness may be nervous and contradict [herself]
themself. It is also a fact that two people witnessing an event [will] may see or hear it differently.
Whether a discrepancy pertains to a fact of importance or only to a trivial detail should be
considered in weighing its significance; but a willful falsehood always is a matter of importance
and should be considered seriously.

It is for you to decide, based on your total impression of the witness, how to weigh the
discrepancies in [her] their testimony. You should, as always, use common sense and your own
good judgment.



Modern Federal Jury Instructions-Civil 76-4 (2022)




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                                     INSTRUCTION NO. 4

                        Impeachment by Prior Inconsistent Statements

You have heard evidence that at some earlier time the witness has said or done something that
counsel argues is inconsistent with the witness’s trial testimony.

Evidence of a prior inconsistent statement is not to be considered by you as affirmative evidence
in determining liability. Evidence of a prior inconsistent statement was placed before you for the
more limited purpose of helping you decide whether to believe the trial testimony of the witness
who contradicted herself. If you find that the witness made an earlier statement that conflicts with
his or her trial testimony, you may consider that fact in deciding how much of [her] their trial
testimony, if any, to believe.

In making this determination, you may consider whether the witness purposely made a false
statement or whether it was an innocent mistake; whether the inconsistency concerns an important
fact, or whether it had to do with a small detail; whether the witness had an explanation for the
inconsistency, and whether that explanation appealed to your common sense.

It is exclusively your duty, based on all the evidence and your own good judgment, to determine
whether the prior statement was inconsistent, and if so, how much, if any, weight to give to the
inconsistent statement in determining whether to believe all or part of the witness’s testimony.



Modern Federal Jury Instructions-Civil 76-5 (2022)




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                                      INSTRUCTION NO. 5

                                    Title VII Retaliation Claim

To make out her claim of retaliation, Plaintiff must prove, by a preponderance of the evidence,
each of the following essential elements:

    First: [That the plaintiff complained of discrimination in her employment, specifically [specify
    the protected activity]]. That the plaintiff engaged in protected activity, that is, at the time she
    made her complaints, she held a reasonable good faith belief that her complaints of sexual
    harassment and retaliation by Mr. Conway violated the law;*

    Second: That the plaintiff was then subjected to a material adverse action by the defendant,
    specifically her termination; and

    Third: [That the plaintiff’s complaint was the critical element in the defendant’s decision to
    take the adverse action]. That the adverse employment action would not have occurred but for
    the protected activity.

With respect to the second element, an adverse action is “material,” in terms of a retaliation claim,
if it might have discouraged a reasonable worker from complaining about similar harassment or
retaliation. [The adverse action itself, however, need not be related to the plaintiff’s employment].

With respect to the third element, [it must be the case that the defendant would not have taken the
adverse action except as a response to the plaintiff’s protected activity.] the defendant must have
taken the adverse action because of an intent to retaliate against the plaintiff for complaining about
retaliation and sexual harassment.



Modern Federal Jury Instructions-Civil (2022) 88-46 (modified)

*
 Authorities for modification: Adams v. Giant Food, Inc., 225 F. Supp. 2d 600, 606 (D. Md. 2002)
(“[A] plaintiff bringing a claim under the opposition clause of Title VII need not establish that the
employment practice he opposed in fact violated Title VII. See Ross v. Communications Satellite
Corp., 759 F.2d 355, 357 n.1 (4th Cir. 1985), abrogated on other grounds by, Price Waterhouse
v. Hopkins, 490 U.S. 228, 104 L. Ed. 2d 268, 109 S. Ct. 1775 (1989); see also Dea v. Washington
Suburban Sanitary Comm'n, 11 Fed. Appx. 352, 2001 WL 672046, *3 (4th Cir. 2001)
(unpublished). The plaintiff must, however, at a minimum have held a reasonable good faith belief
at the time he opposed an employment practice that the practice was violative of Title VII. See
Dea, 11 Fed. Appx. 352, 2001 WL 672046, at *3 (citing Little v. United Techs., 103 F.3d 956
(11th Cir. 1997)).




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Defendant’s Objection: Strike in favor of 3C Fed. Jury Prac. & Instr. § 171:25 (6th ed.)(Westlaw
2023).

Plaintiff’s Response: Defendant does not articulate why its proposed jury instruction is more
favorable to Plaintiff’s proposed instruction. Without a specific objection, Plaintiff has no basis
in which to reply other than to incorporate her specific objections to Defendant’s proposed
instruction which is contained in Attachment *.




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                                      INSTRUCTION NO. 6

               Plaintiff Need Not Show that Retaliation was the Sole Factor in
                           Defendant’s Decision to Terminate Her

Plaintiff must show by a preponderance of the evidence, that when she was terminated by
Defendant, it was because of retaliation. This means that protected activity was a necessary factor
in the defendant's decision, without which that decision would not have been made. “Because of”
retaliation means in part that the plaintiff need not prove that her protected activities were the only
factor behind her termination. However, she must prove by direct or indirect evidence that but-for
those activities, she would not have been terminated.



Authorities

Burrage v. United States, 134 S. Ct. 881, 888-889, 892 (Jan. 27, 2014) (emphasis in original)
(Ginsburg, J., concurring); Univ. of Tex. Southwestern Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2533
(U.S. 2013); Univ. of Tex. Southwestern Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2547 (U.S. 2013)
(Ginsburg, J. dissenting); Price-Waterhouse v. Hopkins, 490 U.S. 228, 241 n.7 (1989) (noting that
Congress “specifically rejected an amendment that would have placed ‘solely’ in front of the words
‘because of’” in Title VII); Foster v. Univ. of Maryland-Eastern Shore, 787 F.3d 243, 249 (4th
Cir. Md. 2015); Kwan v. Andalex Grp. LLC, 737 F.3d 834, 846 n. 5 (2d Cir. 2013); Ponce v.
Billington, 679 F.3d 840, 846 (D.C. Cir. 2012) (“[W]e never said—nor could we given McDonald
v. Santa Fe Transp. Co., 427 U.S. 273, 282 n.10 (1976) that a plaintiff in a but-for case must show
that an adverse employment action occurred solely because of a protected characteristic.”) (citing
Porter v. Natsios, 414 F.3d 13, 18 (D.C. Cir. 2005) (“the statutory phrase ‘because of’ does not
mean ‘solely because of.’’”) (quoting Price Waterhouse, 490 U.S. at 241)).

Defendant’s Objection: Strike as duplicative to 3C Fed. Jury Prac. & Instr. § 171:25 (6th
ed.)(Westlaw 2023).

Plaintiff’s Response: Instruction No. 6 better explains “but for” causation and is supported by
Supreme Court jurisprudence.




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                                      INSTRUCTION NO. 7

                                               Pretext

Plaintiff may also prove, by a preponderance of the evidence, through direct or circumstantial
evidence, that the defendant's stated reason to terminate her is false or a pretext for [discrimination]
retaliation by persuading you that the defendant's offered reason is not believable or that it was not
the true reason why it fired Plaintiff. If you find that the defendant's offered reason was false or
pretextual, the law allows you to infer that the defendant had a [discriminatory] retaliatory motive
and you may find for the plaintiff for this reason alone, although you are not required to do so.



ABA Model Jury Instructions Employment Litigation 1.02[3][a] (modified)

Authorities

Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133 (2000); Hagelthorn v. Kennecott
Corp., 710 F. 2d 76 (2nd Cir. 1983); Fuentes v. Perskie, 32 F. 3d 759 (3rd Cir. 1994); Ratliff v.
City of Gainesville, 256 F. 3d 355 (5th Cir. 2001); Kline v. TVA, 128 F 3d 337 (6th Cir. 1997);
Morgan v. Hilti, Inc., 108 F.3d 1319 (10th Cir. 1997).




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                                     INSTRUCTION NO. 8

                                       Proof of Retaliation

Ms. Kubas may prove her retaliation case through direct evidence, circumstantial evidence, or
both. Direct evidence of retaliation is evidence of remarks or actions that, if believed, would prove
that Defendant’s termination of her was caused by Ms. Kubas’s protected activity.

Indirect -- or circumstantial -- evidence may include proof of a set of circumstances that would
warrant your inferring that Plaintiff’s expression of opposition to what she believed to be
harassment and retaliation caused the adverse employment action.

Circumstantial evidence of retaliation can be shown by suspicious timing of events, negative
statements about Plaintiff, ambiguous or contradictory oral or written statements, or other bits and
pieces of information from which retaliatory intent might be shown. Evidence of a pattern of
retaliatory conduct occurring soon after a complaint is made may also warrant an inference of
retaliatory motive.


Authorities

Federal Employment Jury Instructions Par. 1:300 (1999)
42 U.S.C. Sec. 2000e-2(m)
McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973)
Carter v. Ball, 39 F.3d 450, 460 (4th Cir. 1994)


Defendant’s Objection: Strike as duplicative of Court’s instructions regarding direct and
indirect evidence.

Plaintiff’s Response: Plaintiff respectfully asserts that while the Court has an instruction
concerning direct and indirect evidence, proposed Instruction No. 8 defines these types of
admissible evidence within the specific context of Plaintiff’s retaliation claim. There is no
prejudice to Defendant if the different types of evidence are explained in this manner and it
would be helpful to the jury.




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                                     INSTRUCTION NO. 9

              Sexual Harassment Complaint Need Not Be Meritorious To Prove a
                             Retaliation Claim Under Title VII

You need not find that Plaintiff would have prevailed on her sexual harassment complaint in order
to find that she has proved her claim of retaliation under Title VII.



Authorities

Ford v. Rigidply Rafters, 999 F. Supp. 647, 649 (D. Md. 1998) (“it is well-settled in the Fourth
Circuit that a Title VII plaintiff alleging unlawful Title VII retaliation need not prove the
underlying claim of sexual harassment to prevail upon the retaliation claim.” (citing Hopkins v.
Baltimore Gas & Elec. Co., 77 F.3d 745, 754 (4th Cir.), cert. denied, 519 U.S. 818, 136 L. Ed.
2d 30, 117 S. Ct. 70 (1996); Kralowec v. Prince George's County, 503 F. Supp. 985, 1008 (D.
Md. 1980), aff'd, 679 F.2d 883 (4th Cir. 1982) (holding that if the plaintiff proves his reasonable
belief that sexual harassment occurred, he may maintain his retaliation claim.); see also, Sullivan
v. Nat'l R.R. Passenger Corp., 170 F.3d 1056, 1059 (11th Cir. 1999) ("[R]etaliation is a separate
offense under Title VII; an employee need not prove the underlying claim of discrimination for
the retaliation claim to succeed"); Hankins v. AirTran Airways, Inc., 237 F. App'x. 513, 519
(11th Cir. 2007) (same).


Defendant’s Objection: Strike as duplicative to 3C Fed. Jury Prac. & Instr. § 171:25 (6th
ed.)(Westlaw 2023). Additionally, not based upon 4th circuit authority.

Plaintiff’s Response: Plaintiff revised to include this Court and 4th Circuit authority.




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                                    INSTRUCTION NO. 10

                           Evidence of Timing in Proving Retaliation

In considering whether Defendant has engaged in unlawful retaliation against Ms. Kubas in
violation of Title VII of the Civil Rights Act of 1964, you may rely upon the proximity in time
between the activities constituting protected opposition to harassment and retaliation, and the
alleged retaliatory action of Defendant.



Authorities

Plaintiff may demonstrate that “the adverse act bears sufficient temporal proximity to the protected
activity.” Johnson v. United Parcel Serv., Inc., 839 F. App’x 781, 784 (4th Cir. 2021)) (citing
Clark Cnty. Sch. Dist. v. Breeden, 532 U.S. 268, 273‒74 (2001)). The Fourth Circuit has “made
abundantly clear” that, at the prima facie stage, “temporal proximity suffices to show a causal
relationship.” Sempowich v. Tactile Sys. Tech., Inc., 19 F.4th 643, 654 (4th Cir. 2021) (citing
Strothers v. City of Laurel, Maryland, 895 F.3d 317, 335 (4th Cir. 2018)). “An employee may
establish prima facie causation simply by showing that (1) the employer either understood or
should have understood the employee to be engaged in protected activity and (2) the employer
took adverse action against the employee soon after becoming aware of such activity.” Strothers,
895 F.3d at 335‒36.



Defendant’s Objection: Strike as based on authority outside of the 4th Circuit. This is not the
established law in the 4th Circuit.

Plaintiff’s Response: Plaintiff has revised to include 4th Circuit Authority.




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                                    INSTRUCTION NO. 11

                              Compensatory Damages-Retaliation

If you find that Defendant acted unlawfully, you may award the Plaintiff an amount for her
compensatory damages. You may award damages for any pain, suffering or mental anguish that
Plaintiff experienced as a consequence of the retaliation. You are instructed that mental anguish is
not presumed simply because Plaintiff may be a victim of retaliation. Plaintiff must prove the
existence, nature and severity of any mental anguish that she suffered by a preponderance of the
evidence,. Any award you make should be fair in light of the evidence presented at trial.

In determining the amount of damages that you decide to award, you should be guided by
dispassionate common sense. You must use sound discretion in fixing an award of damages,
drawing reasonable inferences from the facts in evidence. You may not award damages based on
sympathy, speculation, or guess work. On the other hand, the law does not require that the plaintiff
prove the amount of her losses with mathematical precision, but only with as much definiteness
and accuracy as the circumstances permit.


Authorities

3 Devitt, Blackmar, and Wolff, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 104.05
(West Supp. 1997); Proposed Pattern Civil Jury Instructions for the Seventh Circuit; Kyles v. J.K.
Guardian Securities Services, Inc., 222 F.3d 289, 300 (7th Cir. 2000).




Defendant’s Objection: Strike in favor of 3C Fed. Jury Prac. & Instr. § 171:90 (6th ed.)(Westlaw
2023).

Plaintiff’s Response: Defendant does not articulate why its proposed jury instruction is more
favorable to Plaintiff’s proposed instruction. Without a specific objection, Plaintiff has no basis
in which to reply other than to incorporate her specific objections to Defendant’s proposed
instruction which is contained in Attachment *.




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                                     INSTRUCTION NO. 12

                                         Punitive Damages

Plaintiff is also requesting an award of punitive damages against Defendant. Punitive damages are
damages above and beyond the amount that you may award for compensatory or nominal damages.
Punitive damages are awarded to punish the Defendant and to deter Defendant and others from
engaging in similar conduct in the future.

You may award punitive damages only if you find that the act or acts of the Defendant were
malicious, or in willful, wanton or reckless disregard of Plaintiff’s rights. Malice, or wrongful
motive, is a state of mind. It may be proven by circumstantial evidence, that is, it may be inferred
from the acts of the Defendant or by direct evidence such as statements, either written or oral,
made by the Defendant. You may award such additional sum for punitive damages if you find that
the unlawful conduct to which the plaintiff was subjected caused her economic damage,
embarrassment, humiliation, or indignity. This standard does not require "a showing of egregious
or outrageous [retaliation]," but rather proof that the employer retaliated "in the face of a perceived
risk that its actions [would] violate federal law."

If you find that the plaintiff is entitled to an award of punitive damages, you should consider the
following factors in determining the appropriate amount to award: the seriousness of the
defendant’s conduct, its state of mind when committing the retaliation, the extent of its malice
towards Plaintiff, and how much you wish to deter similar actions by them or other employers in
the future.


Authorities

Kolstad v. American Dental Ass'n, 527 U.S. 526, 535-36 (1999); Gallina v. Mintz, 123 Fed. Appx.
558, 564 (4th Cir. 2005); Howard University v. Best, 484 A.2d 958 (D.C. 1984).



Defendant’s Objection: Strike in favor of 3C Fed. Jury Prac. & Instr. § 171:94 (6th ed.)(Westlaw
2023).

Plaintiff’s Response: Defendant does not articulate why its proposed jury instruction is more
favorable to Plaintiff’s proposed instruction. Without a specific objection, Plaintiff has no basis
in which to reply other than to incorporate her specific objections to Defendant’s proposed
instruction which is contained in Attachment *.




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Defendant’s Objections: Defendant’s objections are made using the strikethrough “tracked
changes” function on the list of jury instructions and with “Comments” made on each specific
jury instruction highlighting the reason for each of the requests.

Plaintiff’s Response: To ensure that the typeface did not become too small when converting the
document with comments into a pdf, Plaintiff’s counsel copied Defendant’s comments into the
body of the document, which is also consistent with the other documents that are being submitted
to the Court in the Pretrial Statement.



                                                     Respectfully submitted,


                                                         /s/
                                                     Jason C. Buckel, Bar Number: 24766
                                                     T. Lee Beeman, Jr., Bar Number: 19613
                                                     Buckel, Levasseur,
                                                     Pillai & Beeman, LLC
                                                     206 Washington, Street
                                                     Cumberland, Maryland 21502
                                                     Tel: (301) 759-3700
                                                     Email: lbeeman@blpblaw.com
                                                     Counsel for Defendant




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                    ATTACHMENT 4

Plaintiff’s Case Specific Voir Dire Questions
      Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 58 of 127



                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

                                ATTACHMENT 4
                PLAINTIFF’S CASE SPECIFIC VOIR DIRE QUESTIONS


1.   The law firms involved with this case are: Alderman, Devorsetz & Hora PLLC and Buckel
     Levasseur Pillai & Beeman LLC. Have you or people you are close with had business
     dealings with, or been employed by, any of the law firms mentioned?

     Def Objection:

2.   The lawyers involved in this case are: Sundeep Hora, Emma Eckert, Jason Buckel and Lee
     Beeman. Do any of you or people you are close with know any of the attorneys involved in
     this action, either through work, or through social connections?

     Def Objection:

3.   The plaintiff in this case is Kim Kubas. At one point, she worked at a gym called Rockwell
     Fitness, who is the defendant in this case. Do you think you know, or have you read/heard
     anything about Ms. Kubas either in the news, or social media networks?

     Def Objection:

4.   Defendant Rockwell Fitness is owned by Maryland State Delegate Brian Chisholm and
     former Maryland State Delegate Sid Saab. Do you think you know, or have you read/heard
     anything about Rockwell Fitness, Mr. Chisholm or Mr. Saab either in the news, or social
     media networks?

     Def Objection:

5.   Do you live or have you recently lived in Districts 31 or 33 of Anne Arundel County?
      Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 59 of 127



     Def Objection:

6.   Jason Buckel, Defendant’s attorney, is also a Maryland State Delegate. Do you live or have
     you recently lived in District 1B?

     Def Objection:

7.   Have you or anyone close to you ever been a member of Rockwell Fitness, attended an
     event at the gym or worked out there?

     Def Objection:

8.   Do you know or have any familiarity with any other members of the jury pool?

     Def Objection:

9.   Have you or anyone close to you ever consulted with a lawyer about the possibility of filing
     a lawsuit? If so, briefly describe the situation that made you consult with a lawyer.

     Def Objection:

10. Have you or anyone close to you had to defend yourself in a lawsuit? If so, briefly describe
    the nature of the allegations in the case against you or the person close to you.

     Def Objection:

11. Have you, a family member, or a close friend ever had a complaint or accusation of
    discrimination, retaliation, formal or informal, made against you/them?

     Def Objection:

12. Do you have any views about anti-discrimination laws or discrimination cases and/or
    retaliation claims that would make it difficult for you to render a fair and impartial verdict in
    this case?

     Def Objection:

13. Are you or have you ever been a manager, supervisor, or human resources representative, or
    had a job where you were responsible for hiring or firing employees?

14. Do you own or have you ever owned your own business? If so, what type of business? Is
    your business currently operating?

     Def Objection:
      Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 60 of 127



15. [Of those who have ownership/management/supervisory experience:] Did you ever have to
    fire or reprimand an employee? If yes, describe the reason/s.

    Def Objection:

16. The plaintiff in this case is an individual. The defendant is a company. Does anyone here
    feel that it would be hard to treat an individual and a company equally? In other words, does
    anyone have a slight leaning where, if given a choice, you’d lean towards favoring one side
    or the other?

    Def Objection:

17. Do you have any moral, religious, philosophical or political beliefs that preclude you from
    sitting on a jury or that will make it difficult for you to render a fair and impartial verdict in
    this case?

    Def Objection:
   Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 61 of 127




                      ATTACHMENT 4a

Defendant’s Objections and Plaintiff’s Response
 to Plaintiff’s Case Specific Voir Dire Questions
            Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 62 of 127




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

                                  ATTACHMENT 4
                PLAINTIFF’S CASE SPECIFIC VOIR DIRE QUESTIONS
                   [with Defendant’s Objections and Plaintiff’s Reply]


1.   The law firms involved with this case are: Alderman, Devorsetz & Hora PLLC and Buckel
     Levasseur Pillai & Beeman LLC. Have you or people you are close with had business
     dealings with, or been employed by, any of the law firms mentioned?

     Def Objection: None.

2.   The lawyers involved in this case are: Sundeep Hora, Emma Eckert, Jason Buckel and Lee
     Beeman. Do any of you or people you are close with know any of the attorneys involved in
     this action, either through work, or through social connections?

     Def Objection: None.

3.   The plaintiff in this case is Kim Kubas. At one point, she worked at a gym called Rockwell
     Fitness, who is the defendant in this case. Do you think you know, or have you read/heard
     anything about Ms. Kubas either in the news, or social media networks?

     Def Objection: None.

4.   Defendant Rockwell Fitness is owned by Brian Chisholm and Sid Saab. Do you think you         Deleted: Maryland State Delegate
     know, or have you read/heard anything about Rockwell Fitness, Mr. Chisholm or Mr. Saab       Deleted: former Maryland State Delegate
     either in the news, or social media networks?

     Def Objection: See stricken language above. Brian Chisholm and Sid Saab’s status as
     (former) Maryland State Delegates is entirely irrelevant to the proceedings and is
     offered only for prejudicial purposes.
            Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 63 of 127




     Plaintiff’s Reply- Chisholm and Saab’s status as delegates, whether jurors live in their
     district and have voted for or against them are relevant factors in determining bias
     and for peremptory strike purposes. The same applies to Attorney Buckel’s status as a
     a delegate and minority leader.

5.   Do you live or have you recently lived in Anne Arundel County?                                     Deleted: Districts 31 or 33 of


     Def Objection: See stricken language above and Objection No. 5.

6.   ?                                                                                                  Deleted: Jason Buckel, Defendant’s attorney, is also a
                                                                                                        Maryland State Delegate. Do you live or have you recently
                                                                                                        lived in District 1B
     Def Objection: Jason Buckel’s status as a Maryland State Delegate while also serving
     as counsel for Defendants is entirely irrelevant and offered only for prejudicial
     purposes.

7.   Have you or anyone close to you ever been a member of Rockwell Fitness, attended an
     event at the gym or worked out there?

     Def Objection: None.

8.   Do you know or have any familiarity with any other members of the jury pool?

     Def Objection: None.

9.   Have you or anyone close to you ever consulted with a lawyer about the possibility of filing
     a lawsuit? If so, briefly describe the situation that made you consult with a lawyer.

     Def Objection: None.

10. Have you or anyone close to you had to defend yourself in a lawsuit? If so, briefly describe
    the nature of the allegations in the case against you or the person close to you.

     Def Objection: None.

11. Have you, a family member, or a close friend ever had a complaint or accusation of
    discrimination, retaliation, formal or informal, made against you/them?

     Def Objection: None.

12. Do you have any views about anti-discrimination laws or discrimination cases and/or
    retaliation claims that would make it difficult for you to render a fair and impartial verdict in
    this case?

     Def Objection: None.
            Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 64 of 127




13. Are you or have you ever been a manager, supervisor, or human resources representative, or
    had a job where you were responsible for hiring or firing employees?

    Def Objection: None.


14. Do you own or have you ever owned your own business? If so, what type of business? Is
    your business currently operating?

    Def Objection: None.

15. [Of those who have ownership/management/supervisory experience:] Did you ever have to
    fire or reprimand an employee? If yes, describe the reason/s.

    Def Objection: None.

16. The plaintiff in this case is an individual. The defendant is a company. Does anyone here
    feel that it would be hard to treat an individual and a company equally? In other words, does
    anyone have a slight leaning where, if given a choice, you’d lean towards favoring one side
    or the other?

    Def Objection: None.

17. Do you have any moral, religious, philosophical or political beliefs that preclude you from
    sitting on a jury or that will make it difficult for you to render a fair and impartial verdict in
    this case?

    Def Objection: None.
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                      ATTACHMENT 5

    Plaintiff’s Proposed Verdict Form with
Defendant’s Objections and Plaintiff’s Response
    Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 66 of 127



                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                Northern Division

KIMBERLY KUBAS                      )
                         Plaintiff, )
                                    )
              v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                    )
331B, LLC                           )
(D/B/A ROCKWELL FITNESS)            )
                                    )
                       Defendant. )
                                    )

               PLAINTIFF’S PROPOSED SPECIAL VERDICT FORM
                [With Defendant’s Objections and Plaintiff’s Response]

  1. Do you find by a preponderance of the evidence that Defendant, 331B, LLC, has engaged
     in unlawful retaliation against Kimberly Kubas in violation of Title VII of the Civil
     Rights Act of 1964?


                    Yes                         No

  2. If yes, what amount of compensatory damages, to compensate for pain, suffering or
     mental anguish, should Kimberly Kubas receive from 331B, LLC as a result of
     Defendant’s conduct?

                    $

  3. Do you find by a preponderance of the evidence that Kimberly Kubas should receive
     punitive damages from 331B, LLC as a result of this retaliatory action?



                    Yes                         No


  4. If yes, what amount of punitive damages do you award?

                    $




                                            1
      Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 67 of 127



                                                      Respectfully submitted,

                                                      /s/
                                                      Sundeep Hora, Esq. (MD Bar No. 28208)
                                                      Emma Eckert (PHV
                                                      Alderman, Devorsetz & Hora PLLC
                                                      1025 Connecticut Ave NW; Suite 615
                                                      Washington, DC 20036
                                                      Tel. 202-969-8220
                                                      Fax 202-969-8224
                                                      Email: shora@adhlawfirm.com

                                                      Counsel for Plaintiff


Defendant’s Objection:

         Defendant believes the verdict form it has proffered more accurately represents the
manner in which the jury should proceed through verdict and is based upon the pattern “Jury
Interrogatories” contained in Federal Jury Practice and Instructions 6th edition, as modified for
retaliation. 3C Fed. Jury Prac. & Instr. § 171:101 (6th ed.)(Westlaw 2023). See, Defendant’s
Proposed Special Verdict Form.

                                             Respectfully submitted,


‘                                                /s/
                                             Jason C. Buckel, Bar Number: 24766
                                             T. Lee Beeman, Jr., Bar Number: 19613
                                             Buckel, Levasseur,
                                             Pillai & Beeman, LLC
                                             206 Washington, Street
                                             Cumberland, Maryland 21502
                                             Tel: (301) 759-3700
                                             Email: lbeeman@blpblaw.com
                                             Counsel for Defendant



Plaintiff’s Response-Plaintiff objects to Defendant’s proposed verdict form for the reasons
stated in Attachment 8. Plaintiff’s proposed verdict form is appropriate, straightforward and
reflects that it will be used after the jury has been properly instructed by the Court on each of the
elements of Plaintiff’s retaliation claim and request for damages.




                                                  2
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                    ATTACHMENT 6

  Defendant's Exhibit List with Plaintiff’s
  Objections and Defendant’s Response
                      Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 69 of 127



                                             Kubas v. 331B, 1:20-cv-2456 (MJM)
                                                  Defendant’s Exhibit List
                                                      Updated 2-24-23
Will Use

May Use
 Exhibit Bates     Date (s)          Description                 Plaintiff’s Objection             Defendant’s Reply
   No
    1    331B_     01/25/21   Defendant’s EEOC Position   802, 805 (hearsay); 402, 403          Withdrawn.
         0001-                Statement                   (prejudicial because it contains
         0017                                             counsel’s argument and is not
                                                          evidence).
    2      331B_   12/20/19   Affidavit of Devin Conway   FRE 802, 805 (hearsay),               Defendant may use in the
           0018-                                          Foundation/Speculation. This          event that Devin Conway
           0022                                           affidavit was produced by             is unavailable.
                                                          Defendant in discovery and
                                                          drafted with the assistance of
                                                          defense counsel. Defendant
                                                          cannot introduce Conway’s self-
                                                          serving, out-of-court statements
                                                          as evidence at trial. The affidavit
                                                          also includes additional layers of
                                                          hearsay (reporting what others,
                                                          told him). Mr. Conway is
                                                          expected to testify and is listed
                                                          as a witness for both parties. FRE
                                                          403 applies because Plaintiff
                                                          cannot cross examine an
                                                          affidavit.




                                                             1
               Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 70 of 127



3   331B_              Affidavit of Bobbi Beers   802, 805 (hearsay);                    Defendant may use in the
    0023-                                         Foundation/Speculation. Beers’         event that Bobbi Beers is
    0025                                          affidavit is unsigned. FRE 802         unavailable.
                                                  (hearsay),
                                                  Foundation/Speculation. This
                                                  affidavit was produced by
                                                  Defendant in discovery and
                                                  drafted with the assistance of
                                                  defense counsel. The affidavit is
                                                  hearsay and inadmissible at trial.
                                                  Defendant cannot introduce
                                                  Beers self-serving, out-of-court
                                                  statements as evidence at trial.
                                                  The affidavit also includes
                                                  additional layers of hearsay
                                                  (reporting what others told her).
                                                  It is likely that Beers (who is
                                                  engaged to Conway) will testify
                                                  as an impeachment witness for
                                                  Defendant. 403 because Plaintiff
                                                  cannot cross examine an
                                                  affidavit.
4   331B_   12/23/19   Affidavit of Breanna       802, 805 (hearsay);                    Defendant may use in the
    0026-              Moore                      Foundation/Speculation. It is          event that Breanna
    0028                                          likely that Moore will testify as an   Moore is unavailable.
                                                  impeachment witness for
                                                  Defendant. 403 because Plaintiff
                                                  cannot cross examine an
                                                  affidavit.




                                                      2
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5    331B_   12/3/19    Affidavit of Constance    402, 802. 805 (hearsay);            Defendant may use in the
     0029-              Conway                    Foundation/Speculation.             event that Connie
     0030                                         Constance Conway is Devin           Conway is unavailable.
                                                  Conway mother. FRE 403 applies
                                                  because Plaintiff cannot cross
                                                  examine an affidavit.
6    331B_              Rockwell Employee         See Plaintiff’s Motion in Limine.   See, Defendant’s
     0178-              Handbook                  FRE 401, 402, 403, 802, 901         Proposed Ex. 11 regarding
     0193                                         (authenticity). Defendant has       implementation of
                                                  not offered any evidence that       Handbook and Receipt of
                                                  this handbook was in effect         Handbook by Plaintiff. An
                                                  during Ms. Kubas’s tenure, or       updated handbook was
                                                  that Ms. Kubas reviewed or          produced during
                                                  agreed to the contents of the       discovery which was put
                                                  handbook. In fact, it appears       into effect after Plaintiff’s
                                                  that the handbook was created       termination (see
                                                  after Ms. Kubas was terminated      331B_1018).
                                                  in August 2019 (331B 1017) and
                                                  was not distributed to employees
                                                  until after (See 331B 809).
7    331B_   09/14/18   Kubas Payroll Records     No objection.
     0223-   -
     0244    07/10/19
8    331B_   11/04/20   Kubas Charge of           No objection.
     0798-   19         Discimination
     0800
9    331B_   06/01/20   Kubas Timeclock records   No objection.
     0049    19         06/1/19-6/21/19
10   331B_   Various    Kubas / Chisholm Texts    No objection.
     0046-
     0047


                                                     3
                          Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 72 of 127



    11      331B_     07/12/20     Email from Ryan                Hearsay, 403 because there is no
            1036-     17           VanBrackel to Rockwell         way to know what version of the
            1037                   Employees                      handbook was attached.
    12      331B_                  Employee Handbook from         See Plaintiff’s Motion in Limine.
            1038-                  2017                           FRE 401, 402, 403, 802, 901
            1053                                                  (authenticity). Defendant has
                                                                  not offered any evidence that
                                                                  this handbook was in effect
                                                                  during Ms. Kubas’s tenure, or
                                                                  that Ms. Kubas reviewed or
                                                                  agreed to the contents of the
                                                                  handbook. In fact, it appears
                                                                  that the handbook was created
                                                                  after Ms. Kubas was terminated
                                                                  in August 2019 (331B 1017) and
                                                                  was not distributed to employees
                                                                  until after (See 331B 809).
    13      331B_     06/19/20     Emails Between Kubas,          No objection.
            0194-     19-          Chisholm, and Saab
            0198      06/21/20
                      19

Defendant may use all exhibits identified by Plaintiff in Plaintiff’s exhibit list.

Plaintiff’s response: If Defendant “may use all of the exhibits identified by Plaintiff,” then all of Plaintiff’s exhibits should be
considered joint exhibits.




                                                                      4
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                                                    Respectfully submitted,


                                                        /s/
                                                    Jason C. Buckel, Bar Number: 24766
                                                    T. Lee Beeman, Jr., Bar Number: 19613
                                                    Buckel, Levasseur,
                                                    Pillai & Beeman, LLC
                                                    206 Washington, Street
                                                    Cumberland, Maryland 21502
                                                    Tel: (301) 759-3700
                                                    Email: lbeeman@blpblaw.com
                                                    Counsel for Defendant




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                    ATTACHMENT 7

      Defendant’s Proposed Additional
             Jury Instructions
      Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 75 of 127



                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

           DEFENDANT’S PROPOSED ADDITIONAL JURY INSTRUCTIONS

       Defendant 331B, LLC, through undersigned counsel, pursuant to Rule 51 of the Federal

Rules of Civil Procedure and Local Rule 106.8, respectfully submits the following proposed

additional jury instructions:

             NO.                                            TITLE
               1                Instructions apply to each party
               2                All person equal before the law – Organizations
               3                Burden of Proof – Preponderance of the Evidence
               4                Retaliation
               5                Proximate Cause
               6                Defenses
               7                Legitimate nondiscriminatory reasons for employment
                                decision
               8                Business Judgment
               9                Compensatory Damages
              10                Nominal Damages
              11                Punitive Damages
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                                       Instruction No. 1

                               Instructions apply to each party

Unless I state otherwise, you should consider each instruction given to apply separately and
individually to each plaintiff and to each defendant in the case.
3 Fed. Jury Prac. & Instr. § 103:10 (6th ed.) (Westlaw 2023).
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                                         Instruction No. 2

                        All person equal before the law – Organizations

You should consider and decide this case as a dispute between persons of equal standing in the
community, of equal worth, and holding the same or similar stations in life. A [corporation]
[partnership] [unincorporated association] is entitled to the same fair trial as a private individual.
All persons, including [corporations], [partnerships], [unincorporated associations], and other
organizations stand equal before the law, and are to be treated as equals.

3 Fed. Jury Prac. & Instr. § 103:12 (6th ed.)(Westlaw 2023).
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                                          Instruction No. 3

                       Burden of Proof – Preponderance of the Evidence

Plaintiff has the burden in a civil action, such as this, to prove every essential element of plaintiff's
claim by a preponderance of the evidence. If plaintiff should fail to establish any essential element
of plaintiff's claim by a preponderance of the evidence, you should find for defendant as to that
claim.

“Establish by a preponderance of the evidence” means evidence, which as a whole, shows that the
fact sought to be proved is more probable than not. In other words, a preponderance of the evidence
means such evidence as, when considered and compared with the evidence opposed to it, has more
convincing force, and produces in your minds belief that what is sought to be proved is more likely
true than not true. This standard does not require proof to an absolute certainty, since proof to an
absolute certainty is seldom possible in any case.

In determining whether any fact in issue has been proved by a preponderance of the evidence,
unless otherwise instructed you may consider the testimony of all witnesses, regardless of who
may have called them, and all exhibits received in evidence, regardless of who may have produced
them.

3 Fed. Jury Prac. & Instr. § 104:01 (6th ed.), 3 Fed. Jury Prac. & Instr. § 104:01 (6th ed.)
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                                           Instruction No. 4

                                               Retaliation

Plaintiff Kimberly Kubas claims Defendant 331B, LLC retaliated against Plaintiff because
Plaintiff took steps to enforce Plaintiff's lawful rights under Title VII of the Civil Rights Act of
1964.

Title VII prohibits discrimination in the workplace and also prohibits an employer from taking any
retaliatory action against an employee because the employee has asserted rights or made
complaints under those laws.

Plaintiff may make a discrimination complaint as a means to enforce what Plaintiff believes in
good faith to be the Plaintiff's lawful rights. So, even if a complaint of discrimination against
Defendant is later found to be invalid or without merit, Plaintiff cannot be penalized in retaliation
for having made such a complaint if you find Plaintiff made the complaint as a means of seeking
to enforce what Plaintiff believed in good faith to be Plaintiff's lawful rights. To establish “good
faith,” it is insufficient for Plaintiff merely to allege that Plaintiff's belief in this regard was honest
and bona fide. The allegations and the record must also establish the belief, though perhaps
mistaken, was objectively reasonable.

Plaintiff claims Defendant terminated her employment because Plaintiff complained that a co-
worker was sexually harassing her.

Defendant denies Plaintiff's claim and asserts that Plaintiff voluntarily resigned her employment
while being disciplined for time-keeping related matters.

To succeed on Plaintiff's claim, Plaintiff must prove each of the following facts by a preponderance
of the evidence:

First:          Plaintiff engaged in a protected activity;
Second:         Defendant then took an adverse employment action;
Third:          Defendant took the adverse employment action because of Plaintiff's protected
                activity; and
Fourth:         Plaintiff suffered damages because of the adverse employment action.

In the verdict form that I will explain in a moment, you will be asked to answer questions about
these factual issues.

For the first element, Plaintiff claims that Plaintiff engaged in protected activity when Plaintiff
complained to the owners of Defendant 331B, LLC that she was being sexually harassed by a co-
worker. That action is “protected activity” if it was based on Plaintiff's good-faith, reasonable
belief that Plaintiff was being sexually harassed by a co-worker. Plaintiff had a “good faith” belief
if Plaintiff honestly believed that Plaintiff was being sexually harassed by a co-worker. Plaintiff
had a “reasonable” belief if a reasonable person would, under the circumstances, believe that
Plaintiff was being sexually harassed by a co-worker. Plaintiff does not have to prove Plaintiff was
      Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 80 of 127



being sexually harassed by a co-worker. But Plaintiff must prove that Plaintiff had a good-faith,
reasonable belief that Plaintiff was being sexually harassed by a co-worker.

For the second element, Plaintiff claims Defendant took an adverse employment action against
Plaintiff when Defendant 331B, LLC terminated her employment. You must decide
whether termination of Plaintiff’s employment is an adverse employment action.

An “adverse employment action” is any type of action that would have made a reasonable
employee reluctant to make or support a charge of discrimination. Put another way, if a reasonable
employee would be less likely to complain about or oppose alleged discrimination because the
employee knew that the employer would terminate the individual’s employment, then that action
is an adverse employment action. If the employment action would not make it less likely for a
reasonable employee to make complaints about or oppose the alleged discrimination, it is not an
adverse employment action.

For the third element, if you find that Plaintiff engaged in protected activity and that Defendant
took an adverse employment action against Plaintiff, you must decide whether Defendant took that
action because of Plaintiff's protected activity. In other words, you must decide whether Plaintiff's
protected activity was the main reason for Defendant's decision.

To determine that Defendant took an adverse employment action because of Plaintiff's protected
activity, you must decide that Defendant 331B, LLC would not have taken the action had Plaintiff
not engaged in the protected activity but everything else had been the same.

Defendant claims Defendant did not terminate Plaintiff’s employment because of
Plaintiff's complaining of a coworker sexually harassing her and that Defendant [took the action
for [another reason/other reasons]] did not terminate Plaintiff’s employment. An employer may
not take an adverse action against an employee because of the employee's protected activity. But
an employer may terminate an employee for any other reason, good or bad, fair or unfair. If you
believe Defendant's reason[s] for Defendant's decision, and you find Defendant did not make
Defendant's decision because of Plaintiff's protected activity, you must not second guess that
decision, and you must not substitute your own judgment for Defendant's judgment — even if you
do not agree with it.

For the fourth element, you must decide whether Defendant's acts were the proximate cause of
damages that Plaintiff sustained. Put another way, you must decide, if Defendant had
not terminated Plaintiff’s employment, would these damages have occurred.

If you find Defendant's acts were the proximate cause of damages that Plaintiff incurred, you must
determine the amount of damages.

3C Fed. Jury Prac. & Instr. § 171:25 (6th ed.)(Westlaw 2023).
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                                        Instruction No. 5

                                        Proximate Cause

Plaintiff must prove that Defendant would not have terminated Plaintiff’s employment in the
absence of—in other words, but for—Plaintiff's complaint of sexual harassment by a co-worker.
Plaintiff does not have to prove that Plaintiff’s complaint of sexual harassment by a co-worker was
the only reason Defendant terminated Plaintiff’s employment. But Plaintiff must prove that
Defendant decision to terminate Plaintiff’s employment would not have occurred in the absence
of such discrimination.

3C Fed. Jury Prac. & Instr. § 171:62 (6th ed.)(Westlaw 2023).
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                                         Instruction No. 6

                                             Defenses

If, after considering Plaintiff's evidence and Defendant's rebuttal of that evidence, you find
Plaintiff has established each and every element of Plaintiff's claim, only then should you concern
yourselves with the defenses offered by Defendant.

With regard to any of Defendant's defenses, remember Plaintiff must disprove the defense by a
preponderance of the evidence. In other words, Defendant establishes the defense unless you find
the evidence that opposes the existence of that defense has more convincing force to you than the
evidence that supports it.

If you find Plaintiff has successfully rebutted the defense, then you must find for Plaintiff. If you
find Defendant has established Defendant's defense, then you must find for Defendant.

3C Fed. Jury Prac. & Instr. § 171:70 (6th ed.)(Westlaw 2023).
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                                       Instruction No. 7

               Legitimate nondiscriminatory reasons for employment decision

You must also consider any legitimate, nondiscriminatory reason or explanation stated by
Defendant for its decision. If you determine Defendant has stated such a reason, then you must
decide in favor of Defendant unless Plaintiff proves by a preponderance of the evidence that the
stated reason was not the true reason but was only a pretext or excuse for Defendant's retaliation
against Plaintiff because of plaintiff's complaint of sexual harassment by a co-worker.

3C Fed. Jury Prac. & Instr. § 171:77 (6th ed.)(Westlaw 2023).
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                                        Instruction No. 8

                                       Business Judgment

Even if an employer is mistaken and its business judgment is wrong, an employer is entitled to
make its own policy and business judgment. An employer may make those employment decisions
as it sees fit, as long as it is not unlawful.

In determining whether Defendant's stated reason for its actions was a pretext for retaliation, you
may not question Defendant's business judgment. Pretext is not established just because you
disagree with the business judgment of Defendant unless you find that Defendant's reason was a
pretext for retaliation.


3C Fed. Jury Prac. & Instr. § 171:75 (6th ed.)(Westlaw 2023).
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                                       Instruction No. 9

                                   Compensatory Damages

If you find Defendant retaliated against Plaintiff based on Plaintiff's complaint of sexual
harassment by a co-worker, then you must determine an amount that is fair compensation for
Plaintiff's damages. You may award compensatory damages only for injuries Plaintiff proves were
caused by Defendant's allegedly wrongful conduct.

The damages that you award must be fair compensation—no more and no less.

You may award damages for any pain, suffering or mental anguish that Plaintiff experienced as a
consequence of Defendant's termination of her employment because of Plaintiff’s complaint of
sexual harassment by a co-worker. No evidence of the monetary value of such intangible things as
pain and suffering has been, or need be, introduced into evidence. There is no exact standard for
fixing the compensation to be awarded for these elements of damage. Any award you make should
be fair in light of the evidence presented at the trial.

In determining the amount of any damages you decide to award, you should be guided by common
sense. You must use sound judgment in fixing an award of damages, drawing reasonable
inferences from the facts in evidence. You may not award damages based on sympathy,
speculation, or guesswork. On the other hand, the law does not require that Plaintiff prove the
amount of Plaintiff's losses with mathematical precision, but only with as much definiteness and
accuracy as circumstances permit.

3C Fed. Jury Prac. & Instr. § 171:90 (6th ed.)(Westlaw 2023).
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                                        Instruction No. 10

                                       Nominal Damages

If you find in favor of Plaintiff under Instruction No. ___, but you find Plaintiff's damages have
no monetary value, then you must return a verdict for Plaintiff in the nominal amount of one dollar.

3C Fed. Jury Prac. & Instr. § 171:93 (6th ed.)(Westlaw 2023).
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                                        Instruction No. 11

                                        Punitive Damages

Plaintiff claims the acts of Defendant were done with malice or reckless indifference to the
Plaintiff's federally protected rights so as to entitle Plaintiff to an award of punitive damages in
addition to compensatory damages.

[In some cases punitive damages may be awarded for the purpose of punishing a Defendant for its
wrongful conduct and to deter others from engaging in similar wrongful conduct. However, an
employer may not be held liable for punitive damages because of discriminatory acts on the part
of its managerial employees where those acts by such employees are contrary to the employer's
own good faith efforts to comply with the law by implementing policies and programs designed to
prevent such unlawful discrimination in the workplace.]

An award of punitive damages would be appropriate in this case only if you find for Plaintiff and
then further find from a preponderance of the evidence:

       First:          That an [higher management official] owner of Defendant personally acted
                       with malice or reckless indifference to Plaintiff's federally protected rights,
                       and
                       Second: That Defendant itself had not acted in a good faith attempt to
                       comply with the law by adopting policies and procedures designed to
                       prohibit such discrimination in the workplace.

If you find that punitive damages should be assessed against Defendant, you may consider the
financial resources of Defendant in fixing the amount of such damages.

Punitive damages must bear a reasonable relationship to plaintiff's actual injury. However, there
is no simple way to link punitive to compensatory damages. In determining a reasonable
relationship to the actual injury, you must consider all relevant factors. These include:
        1. The impact or severity of Defendant's conduct.
        2. The amount of time Defendant conducted itself in this manner.
        3. The amount of compensatory damages.
        4. The potential profits Defendant may have made from Defendant's conduct.
        5. The attitudes and actions of Defendant's [top management] Owner(s) after the
        misconduct was discovered.
        6. The effect of the damages award on Defendant's financial condition.

While you may consider evidence of actual harm to nonparties as part of your determination of
reprehensibility, you may not use it to punish a Defendant for injury the Defendant may have
inflicted upon nonparties or those whom they directly represent.

3C Fed. Jury Prac. & Instr. § 171:94 (6th ed.)(Westlaw 2023).
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                                     Respectfully submitted,


                                         /s/
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                                     T. Lee Beeman, Jr., Bar Number: 19613
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                                     Counsel for Defendant
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                     ATTACHMENT 7a

Plaintiff’s Objections and Defendant’s Reply to
    Defendant’s Proposed Jury Instructions
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

           DEFENDANT’S PROPOSED ADDITIONAL JURY INSTRUCTIONS
                 With Plaintiff’s Objections and Defendant’s Reply

       Defendant 331B, LLC, through undersigned counsel, pursuant to Rule 51 of the Federal

Rules of Civil Procedure and Local Rule 106.8, respectfully submits the following proposed

additional jury instructions:

             NO.                                            TITLE
               1                Instructions apply to each party
               2                All person equal before the law – Organizations
               3                Burden of Proof – Preponderance of the Evidence
               4                Retaliation
               5                Proximate Cause
               6                Defenses
               7                Legitimate nondiscriminatory reasons for employment
                                decision
               8                Business Judgment
               9                Compensatory Damages
              10                Nominal Damages
              11                Punitive Damages
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                                       Instruction No. 1

                               Instructions apply to each party

Unless I state otherwise, you should consider each instruction given to apply separately and
individually to each plaintiff and to each defendant in the case.
3 Fed. Jury Prac. & Instr. § 103:10 (6th ed.) (Westlaw 2023).


Plaintiff’s Objection: Duplicative of Court’s Instruction (“Unless otherwise stated, you
should consider each instruction given to apply separately and individually to each party in
the case.”).


Defendant’s Reply: Withdrawn.
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                                         Instruction No. 2

                        All person equal before the law – Organizations

You should consider and decide this case as a dispute between persons of equal standing in the
community, of equal worth, and holding the same or similar stations in life. A [corporation]
[partnership] [unincorporated association] is entitled to the same fair trial as a private individual.
All persons, including [corporations], [partnerships], [unincorporated associations], and other
organizations stand equal before the law, and are to be treated as equals.

3 Fed. Jury Prac. & Instr. § 103:12 (6th ed.)(Westlaw 2023).

Plaintiff’s Objection: Duplicative of Court’s Instruction (PARTIES ARE EQUAL BEFORE
THE COURT)


Defendant’s Reply: This model jury instruction is only duplicative of the Court’s
Instruction in the first sentence. The remaining language of the model interrogatory is
designed to be offered when an individual has filed suit against a corporation or vice versa.
Here, the Court instructing the jury on the necessity of fairness and equality before the law
of corporations is germane and just.
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                                          Instruction No. 3

                       Burden of Proof – Preponderance of the Evidence

Plaintiff has the burden in a civil action, such as this, to prove every essential element of plaintiff's
claim by a preponderance of the evidence. If plaintiff should fail to establish any essential element
of plaintiff's claim by a preponderance of the evidence, you should find for defendant as to that
claim.

“Establish by a preponderance of the evidence” means evidence, which as a whole, shows that the
fact sought to be proved is more probable than not. In other words, a preponderance of the evidence
means such evidence as, when considered and compared with the evidence opposed to it, has more
convincing force, and produces in your minds belief that what is sought to be proved is more likely
true than not true. This standard does not require proof to an absolute certainty, since proof to an
absolute certainty is seldom possible in any case.

In determining whether any fact in issue has been proved by a preponderance of the evidence,
unless otherwise instructed you may consider the testimony of all witnesses, regardless of who
may have called them, and all exhibits received in evidence, regardless of who may have produced
them.

3 Fed. Jury Prac. & Instr. § 104:01 (6th ed.), 3 Fed. Jury Prac. & Instr. § 104:01 (6th ed.)


Plaintiff’s Objection: Duplicative of Court’s Instruction (BURDEN AND STANDARD OF
PROOF—PREPONDERANCE OF THE EVIDENCE)

Defendant’s Reply: Withdrawn
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                                           Instruction No. 4

                                               Retaliation

Plaintiff Kimberly Kubas claims Defendant 331B, LLC retaliated against Plaintiff because
Plaintiff took steps to enforce Plaintiff's lawful rights under Title VII of the Civil Rights Act of
1964.

Title VII prohibits discrimination in the workplace and also prohibits an employer from taking any
retaliatory action against an employee because the employee has asserted rights or made
complaints under those laws.

Plaintiff may make a discrimination complaint as a means to enforce what Plaintiff believes in
good faith to be the Plaintiff's lawful rights. So, even if a complaint of discrimination against
Defendant is later found to be invalid or without merit, Plaintiff cannot be penalized in retaliation
for having made such a complaint if you find Plaintiff made the complaint as a means of seeking
to enforce what Plaintiff believed in good faith to be Plaintiff's lawful rights. To establish “good
faith,” it is insufficient for Plaintiff merely to allege that Plaintiff's belief in this regard was honest
and bona fide. The allegations and the record must also establish the belief, though perhaps
mistaken, was objectively reasonable.

Plaintiff claims Defendant terminated her employment because Plaintiff complained that a co-
worker was sexually harassing her and other female employees and that the co-worker who
sexually harassed her was retaliating against her.

Defendant denies Plaintiff's claim and asserts that Plaintiff voluntarily resigned her employment
while being disciplined for time-keeping related matters.

To succeed on Plaintiff's claim, Plaintiff must prove each of the following facts by a preponderance
of the evidence:

First:          Plaintiff engaged in a protected activity;
Second:         Defendant then took an adverse employment action;
Third:          Defendant took the adverse employment action because of Plaintiff's protected
                activity; and
Fourth:         Plaintiff suffered damages because of the adverse employment action.

In the verdict form that I will explain in a moment, you will be asked to answer questions about
these factual issues.

For the first element, Plaintiff claims that Plaintiff engaged in protected activity when Plaintiff
complained to the owners of Defendant 331B, LLC that she was being sexually harassed by a co-
worker, that other female employees we being sexually harassed by the same co-worker, and that
the same co-worker was retaliating against her. That action is “protected activity” if it was based
on Plaintiff's good-faith, reasonable belief that Plaintiff was being sexually harassed by a co-
worker or Plaintiff’s co-workers were being sexually harassed by a co-worker or the co-worker
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was retaliating against Plaintiff for complaining of his sexual harassment. Plaintiff had a “good
faith” belief if Plaintiff honestly believed that Plaintiff was being sexually harassed by a co-worker
or Plaintiff’s co-workers were being sexually harassed by a co-worker or the co-worker was
retaliating against Plaintiff for complaining of his sexual harassment. Plaintiff had a “reasonable”
belief if a reasonable person would, under the circumstances, believe that Plaintiff was being
sexually harassed by a co-worker or Plaintiff’s co-workers were being sexually harassed by a co-
worker or the co-worker was retaliating against Plaintiff for complaining of his sexual harassment.
Plaintiff does not have to prove Plaintiff was being sexually harassed by a co-worker or Plaintiff’s
co-workers were being sexually harassed by a co-worker or the co-worker was retaliating against
Plaintiff for complaining of his sexual harassment. But Plaintiff must prove that Plaintiff had a
good-faith, reasonable belief that Plaintiff was being sexually harassed by a co-worker or
Plaintiff’s co-workers were being sexually harassed by a co-worker or the co-worker was
retaliating against Plaintiff for complaining of his sexual harassment.

For the second element, Plaintiff claims Defendant took an adverse employment action against
Plaintiff when Defendant 331B, LLC terminated her employment. You must decide
whether termination of Plaintiff’s employment is an adverse employment action.

An “adverse employment action” is any type of action that would have made a reasonable
employee reluctant to make or support a charge of discrimination. Put another way, if a reasonable
employee would be less likely to complain about or oppose alleged discrimination because the
employee knew that the employer would terminate the individual’s employment, then that action
is an adverse employment action. If the employment action would not make it less likely for a
reasonable employee to make complaints about or oppose the alleged discrimination, it is not an
adverse employment action.

For the third element, if you find that Plaintiff engaged in protected activity and that Defendant
took an adverse employment action against Plaintiff, you must decide whether Defendant took that
action because of Plaintiff's protected activity. In other words, you must decide whether Plaintiff's
protected activity was the main reason for Defendant's decision.

To determine that Defendant took an adverse employment action because of Plaintiff's protected
activity, you must decide that Defendant 331B, LLC would not have taken the action had Plaintiff
not engaged in the protected activity but everything else had been the same.

Defendant claims Defendant did not terminate Plaintiff’s employment because of
Plaintiff's complaining of a coworker sexually harassing her and that Defendant [took the action
for [another reason/other reasons]] terminated Plaintiff’s employment for a legitimate non-              Deleted: did not terminate Plaintiff’s employment
discriminatory reason, namely that Plaintiff was clocking in to the time system while not actually
working. An employer may not take an adverse action against an employee because of the
employee's protected activity. But an employer may terminate an employee for any other reason,
good or bad, fair or unfair. If you believe Defendant's reason[s] for Defendant's decision, and you
find Defendant did not make Defendant's decision because of Plaintiff's protected activity, you
must not second guess that decision, and you must not substitute your own judgment for
Defendant's judgment — even if you do not agree with it.
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For the fourth element, you must decide whether Defendant's acts were the proximate cause of
damages that Plaintiff sustained. Put another way, you must decide, if Defendant had
not terminated Plaintiff’s employment, would these damages have occurred.

If you find Defendant's acts were the proximate cause of damages that Plaintiff incurred, you must
determine the amount of damages.

3C Fed. Jury Prac. & Instr. § 171:25 (6th ed.)(Westlaw 2023).



Plaintiff’s Objection: Defendant’s proposed jury instructions makes several references to
discrimination, which is not at issue here. Defendant also improperly frames Plaintiff’s
protected activity as limited to a complaint that Conway sexually harassed her. Plaintiff also
complained that Conway sexual harassed other employees and that he was actively
retaliating against Ms. Kubas after he found out that she was complaining about him.

Jury instructions should be accurate, impartial, and free from argument. This jury
instruction improperly alludes to Defendant’s claim that Plaintiff voluntarily resigned her
employment, whereas Defendant has previously acknowledged that Ms. Kubas was
terminated. See Summary Judgment Motion at 27 (“In his affidavit, Chisholm states that
Plaintiff’s employment ‘was terminated because she was in effect stealing from the Gym by
being clocked in while attending to personal matters and not performing work on behalf of
Rockwell Fitness.’ (Chisholm Aff. ¶ 34, ECF No. 53-1 at 68)”); see also, Def. Ans. To
Interrogatory No. 5 (“Q: Identify and describe in detail Defendant’s purported legitimate            Deleted: ”
and non-discriminatory reason(s) for terminating Plaintiff. ANSWER: The decision to
terminate Plaintiff’s employment arose out of the discovery that she was falsifying her time
records again by clocking in and recording hours worked when she was taking care of
personal matters and not working for Rockwell, after previously being instructed not to do
so and to strictly comply with company timekeeping policy. Chisholm even gave Plaintiff the
opportunity to give an explanation for why she was clocked in while not working, but she
failed to provide one, or even attempt to make a valid explanation. Plaintiff’s employment
ended because she falsified time – not because of retaliation.”).

Defendant’s Reply: Please see updated proposed language which incorporates Plaintiff’s
objections.
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                                        Instruction No. 5

                                        Proximate Cause

Plaintiff must prove that Defendant would not have terminated Plaintiff’s employment in the
absence of—in other words, but for—Plaintiff's complaint of sexual harassment by a co-worker
against her and other co-workers and Plaintiff’s complaint that the co-worker was retaliating
against her for complaining of sexual harassment. Plaintiff does not have to prove that Plaintiff’s
complaint of sexual harassment by a co-worker against her and other co-workers and Plaintiff’s
complaint that the co-worker was retaliating against her for complaining of sexual harassment was
the only reason Defendant terminated Plaintiff’s employment. But Plaintiff must prove that
Defendant decision to terminate Plaintiff’s employment would not have occurred in the absence
of such retaliation.                                                                                  Deleted: discrimination


3C Fed. Jury Prac. & Instr. § 171:62 (6th ed.)(Westlaw 2023).

Plaintiff’s Objection: Defendant’s proposed jury instructions makes several references to
discrimination, which is confusing. Defendant also improperly frames Plaintiff’s protected
activity as limited to a complaint that Conway sexually harassed her. Plaintiff also
complained that Conway sexual harassed other employees and that he was actively
retaliating against Ms. Kubas after he found out that she was complaining about him.

Defendant’s Reply: Please see updated proposed language which incorporates Plaintiff’s
objections.
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                                         Instruction No. 6

                                             Defenses

If, after considering Plaintiff's evidence and Defendant's rebuttal of that evidence, you find
Plaintiff has established each and every element of Plaintiff's claim, only then should you concern
yourselves with the defenses offered by Defendant.

With regard to any of Defendant's defenses, remember Plaintiff must disprove the defense by a
preponderance of the evidence. In other words, Defendant establishes the defense unless you find
the evidence that opposes the existence of that defense has more convincing force to you than the
evidence that supports it.

If you find Plaintiff has successfully rebutted the defense, then you must find for Plaintiff. If you
find Defendant has established Defendant's defense, then you must find for Defendant.

3C Fed. Jury Prac. & Instr. § 171:70 (6th ed.)(Westlaw 2023).

Plaintiff’s Objection: Defendant’s proposed jury instruction is confusing because it
references “Defendant’s defenses” when it should refer to defendant’s legitimate and
nondiscriminatory reason for terminating Plaintiff, which is referenced in Defendant’s
proposed Instruction No. 7. Plaintiff respectfully asserts that her proposed Instruction No.
7 (Pretext), derived from the ABA Model Jury Instructions Employment Litigation
1.02[3][a], contains a better instruction concerning how Plaintiff can rebut Defendant’s
legitimate and non-discriminatory reason for terminating her. See Pl. Proposed Jury
Instruction No. 7 Pretext (“Plaintiff may also prove, by a preponderance of the evidence,
through direct or circumstantial evidence, that the defendant's stated reason to terminate
her is false or a pretext for [discrimination] retaliation by persuading you that the
defendant's offered reason is not believable or that it was not the true reason why it fired
Plaintiff. If you find that the defendant's offered reason was false or pretextual, the law
allows you to infer that the defendant had a [discriminatory] retaliatory motive and you may
find for the plaintiff for this reason alone, although you are not required to do so.”).


Defendant’s Reply: This instruction deals with the larger concept of defenses on a
conceptual basis to frame the issue for the jury, with Defendant’s next proposed jury
instruction dealing specifically with the defense of “legitimate non-discriminatory reason
for termination.” It is not inappropriate in the slightest to inform the jury of the general
concept of defenses and the procedure that should be utilized for defenses and then instruct
the jury on the specific defense.
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                                       Instruction No. 7

               Legitimate nondiscriminatory reasons for employment decision

You must also consider any legitimate, nondiscriminatory reason or explanation stated by
Defendant for its decision. If you determine Defendant has stated such a reason, then you must
decide in favor of Defendant unless Plaintiff proves by a preponderance of the evidence that the
stated reason was not the true reason but was only a pretext or excuse for Defendant's retaliation
against Plaintiff because of plaintiff's complaint of sexual harassment by a co-worker against her
and other co-workers and Plaintiff’s complaint that the co-worker was retaliating against her for
complaining                         of                      sexual                    harassment.

3C Fed. Jury Prac. & Instr. § 171:77 (6th ed.)(Westlaw 2023).


Plaintiff’s Objection: Defendant also improperly frames Plaintiff’s protected activity as
limited to a complaint that Conway sexually harassed her. Plaintiff also complained that
Conway sexual harassed other employees and that he was actively retaliating against Ms.
Kubas after he found out that she was complaining about him.


Defendant’s Reply: Please see updated proposed language which incorporates Plaintiff’s
objections.
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                                        Instruction No. 8

                                       Business Judgment

Even if an employer is mistaken and its business judgment is wrong, an employer is entitled to
make its own policy and business judgment. An employer may make those employment decisions
as it sees fit, as long as it is not unlawful.

In determining whether Defendant's stated reason for its actions was a pretext for retaliation, you
may not question Defendant's business judgment. Pretext is not established just because you
disagree with the business judgment of Defendant unless you find that Defendant's reason was a
pretext for retaliation.


3C Fed. Jury Prac. & Instr. § 171:75 (6th ed.)(Westlaw 2023).

Plaintiff’s Objection: The proposed jury instruction is duplicative of other instructions
that reference Defendant’s legitimate and non-discriminatory reason for terminating
Plaintiff and it is potentially confusing, as it could lead jurors to believe that its purported
“business judgment” was a permissible basis for retaliation.

Defendant’s Reply: Defendant believes that this instruction is neither duplicative nor
confusing. Federal Jury Practice & Instructions has laid out each of these instructions for
separate purposes. This instruction provides the jury with further instructions regarding
pretext and motive.
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                                        Instruction No. 9

                                    Compensatory Damages

If you find Defendant retaliated against Plaintiff based on Plaintiff's complaint of sexual
harassment by a co-worker against her and other co-workers and Plaintiff’s complaint that the co-
worker was retaliating against her for complaining of sexual harassment, then you must determine
an amount that is fair compensation for Plaintiff's damages. You may award compensatory
damages only for injuries Plaintiff proves were caused by Defendant's allegedly wrongful conduct.

The damages that you award must be fair compensation—no more and no less.

You may award damages for any pain, suffering or mental anguish that Plaintiff experienced as a
consequence of Defendant's termination of her employment because of Plaintiff’s complaint of
sexual harassment by a co-worker against her and other co-workers and Plaintiff’s complaint that
the co-worker was retaliating against her for complaining of sexual harassment. No evidence of
the monetary value of such intangible things as pain and suffering has been, or need be, introduced
into evidence. There is no exact standard for fixing the compensation to be awarded for these
elements of damage. Any award you make should be fair in light of the evidence presented at the
trial.

In determining the amount of any damages you decide to award, you should be guided by common
sense. You must use sound judgment in fixing an award of damages, drawing reasonable
inferences from the facts in evidence. You may not award damages based on sympathy,
speculation, or guesswork. On the other hand, the law does not require that Plaintiff prove the
amount of Plaintiff's losses with mathematical precision, but only with as much definiteness and
accuracy as circumstances permit.

3C Fed. Jury Prac. & Instr. § 171:90 (6th ed.)(Westlaw 2023).

Plaintiff’s Objection: Defendant’s proposed instruction improperly frames Plaintiff’s
protected activity as limited to a complaint that Conway sexually harassed her. Plaintiff also
complained about Conway’s sexual harassment of other employees and that he was actively
retaliating against Ms. Kubas after he found out that she was complaining about him.

Defendant’s Reply: Please see updated proposed language which incorporates Plaintiff’s
objections.
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                                        Instruction No. 10

                                       Nominal Damages

If you find in favor of Plaintiff under Instruction No. ___, but you find Plaintiff's damages have
no monetary value, then you must return a verdict for Plaintiff in the nominal amount of one dollar.

3C Fed. Jury Prac. & Instr. § 171:93 (6th ed.)(Westlaw 2023).

Plaintiff’s Objection: None.
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                                        Instruction No. 11

                                        Punitive Damages

Plaintiff claims the acts of Defendant were done with malice or reckless indifference to the
Plaintiff's federally protected rights so as to entitle Plaintiff to an award of punitive damages in
addition to compensatory damages.

                                                                                                       Deleted: [In some cases punitive damages may be awarded
An award of punitive damages would be appropriate in this case only if you find for Plaintiff and      for the purpose of punishing a Defendant for its wrongful
                                                                                                       conduct and to deter others from engaging in similar
then further find from a preponderance of the evidence:                                                wrongful conduct. However, an employer may not be held
                                                                                                       liable for punitive damages because of discriminatory acts on
       First:          That an owner of Defendant personally acted with malice or reckless             the part of its managerial employees where those acts by
                                                                                                       such employees are contrary to the employer's own good
                       indifference to Plaintiff's federally protected rights, and                     faith efforts to comply with the law by implementing policies
                       Second: That Defendant itself had not acted in a good faith attempt to          and programs designed to prevent such unlawful
                       comply with the law by adopting policies and procedures designed to             discrimination in the workplace.]¶
                       prohibit such discrimination in the workplace.                                         Deleted: [higher management official]


If you find that punitive damages should be assessed against Defendant, you may consider the
financial resources of Defendant in fixing the amount of such damages.

Punitive damages must bear a reasonable relationship to plaintiff's actual injury. However, there
is no simple way to link punitive to compensatory damages. In determining a reasonable
relationship to the actual injury, you must consider all relevant factors. These include:
        1. The impact or severity of Defendant's conduct.
        2. The amount of time Defendant conducted itself in this manner.
        3. The amount of compensatory damages.
        4. The potential profits Defendant may have made from Defendant's conduct.
        5. The attitudes and actions of Defendant's Owner(s) after the misconduct was discovered.        Deleted: [top management]
        6. The effect of the damages award on Defendant's financial condition.

While you may consider evidence of actual harm to nonparties as part of your determination of
reprehensibility, you may not use it to punish a Defendant for injury the Defendant may have
inflicted upon nonparties or those whom they directly represent.

3C Fed. Jury Prac. & Instr. § 171:94 (6th ed.)(Westlaw 2023).
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Plaintiff’s Objection: Plaintiff objects to the inclusion of “However, an employer may not
be held liable for punitive damages because of discriminatory acts on the part of its
managerial employees where those acts by such employees are contrary to the employer's
own good faith efforts to comply with the law by implementing policies and programs
designed to prevent such unlawful discrimination in the workplace.” First, Defendant
cannot separate itself from the actions of its General Manager, Devin Conway. There is
substantial evidence that Mr. Chisholm and Mr. Conway worked together to craft
Defendant’s defense and ensure a consistent narrative by reviewing affidavits and other
evidence in this case. See Pl Ex. 24, 331B (Text Message Chisholm to Conway: “[I] appreciate
you putting your eyes on it and trying to point out all of the contradictions and false
statements…”); Ex. 27 (Email containing Conway’s analysis of the complaint); Ex. 34
(7/25/19 Email Chisholm to Conway attaching “Kimberly Kubas Timeline.”). Conway was
intimately involved in Plaintiff’s termination: he told Chisholm about the rumor circulating
at the gym that he was getting fired due to Ms. Kubas’s complaints, which infuriated
Chisholm, and that Ms. Kubas had clocked in remotely on the day that she was terminated.
Second, there is also no valid policy or program that Defendant used or relied on to prevent
unlawful harassment. See Plaintiff’s Motion in Limine concerning Defendant’s Employee
Handbook. Third, the reference to “[higher management official] owner of Defendant
personally acted with malice or reckless indifference to Plaintiff's federally protected rights”
is confusing. Defendant cannot separate themselves into categories like “higher management
official” especially when Mr. Conway was the highest rank manager at Defendant’s gym.

Defendant’s Reply: Defendant was utilizing the Court’s noted method of removing language
from the model instruction using brackets in the above instruction. All language which
Plaintiff has objected to was intended to have been removed from the model interrogatory.
For clarification, Defendant has stricken that language in the above red-line.
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                        Respectfully submitted,


                            /s/
                        Jason C. Buckel, Bar Number: 24766
                        T. Lee Beeman, Jr., Bar Number: 19613
                        Buckel, Levasseur,
                        Pillai & Beeman, LLC
                        206 Washington, Street
                        Cumberland, Maryland 21502
                        Tel: (301) 759-3700
                        Email: lbeeman@blpblaw.com
                        Counsel for Defendant
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                     ATTACHMENT 8

Defendant’s Case Specific Voir Dire Questions
     Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 107 of 127



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

                                 ATTACHMENT 8
                  DEFENDANT’S CASE SPECIFIC VOIR DIRE QUESTIONS


      1.     Have you or anyone close to you ever had a serious or legal dispute with an
employee or employer?

          Plaintiff’s Objection:

       2.      Have you or anyone close to you ever felt discriminated against at work because
of your age, race, gender, or national origin?

          Plaintiff’s Objection:

          3.     Have you ever filed a grievance or claim regarding any employment related
issues?

          Plaintiff’s Objection:

       4.     Do you feel you have ever been denied a promotion or a job within a company
based on gender, race, national origin, religion, age, etc?

          Plaintiff’s Objection:

       5.        Do you feel you have made complaints to your employer which go unheard or are
ignored?

          Plaintiff’s Objection:

       6.     Have you ever had any training (legal, human resources, etc.) as it pertains to
non-discrimination or retaliation in the workplace?
     Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 108 of 127




       Plaintiff’s Objection:

        7.      Aside from issues of discrimination, have you ever felt treated unfairly at work
for any other reason?

       Plaintiff’s Objection:

       8.   Have you heard, or read anything suggesting that Rockwell Fitness is either a
good company to work for or a bad company to work for?

       Plaintiff’s Objection:

        9.      The Judge will instruct you on the law that will guide your decisions. The Judge
may instruct you that a corporation has a right to make decisions – be they right or wrong, good
or bad, sound or unsound, fair or unfair – as long as those decisions are not discriminatory or
retaliatory or otherwise unlawful. Would you have trouble following such an instruction based
on some life experience or feeling about employers or corporations?

       Plaintiff’s Objection:

        10.     If, after hearing all the evidence, you determine that Plaintiff has not proven a
causal connection to retaliation against a protected activity, but you think the manner in which
Plaintiff was terminated was unfair (in other words there was something about the termination
that you did not like), would you have any difficulty finding that there was no retaliation?

       Plaintiff’s Objection:

        11.    Do you think you would be tempted to substitute your own views of company
police for Rockwell’s policy?

       Plaintiff’s Objection:
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                                      Respectfully submitted,


                                          /s/
                                      Jason C. Buckel, Bar Number: 24766
                                      T. Lee Beeman, Jr., Bar Number: 19613
                                      Buckel, Levasseur,
                                      Pillai & Beeman, LLC
                                      206 Washington, Street
                                      Cumberland, Maryland 21502
                                      Tel: (301) 759-3700
                                      Email: lbeeman@blpblaw.com
                                      Counsel for Defendant
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                     ATTACHMENT 8a

Plaintiff’s Objections and Defendant’s Response
     to Defendant’s Case Specific Voir Dire
                    Questions
     Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 111 of 127



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

                                 ATTACHMENT 8
                  DEFENDANT’S CASE SPECIFIC VOIR DIRE QUESTIONS
                         [WITH PLAINTIFF’S OBJECTIONS]


      1.     Have you or anyone close to you ever had a serious or legal dispute with an
employee or employer?

          Plaintiff’s Objection: None.

       2.      Have you or anyone close to you ever felt discriminated against at work because
of your age, race, gender, or national origin?

          Plaintiff’s Objection: The crux of this case is retaliation so the issues of age, race,
          gender, or national origin are not relevant, confusing and should not be used to
          screen or disqualify potential jurors.

          Defendant’s Reply: While the issues of retaliation and discrimination are not one in
          the same, panelists that have experienced discrimination in the workplace are very
          likely to be bias toward a victim of retaliation due to the similarities between the
          unlawful practices.

          3.     Have you ever filed a grievance or claim regarding any employment related
issues?

          Plaintiff’s Objection: None.

       4.     Do you feel you have ever been denied a promotion or a job within a company
based on gender, race, national origin, religion, age, etc?
     Case 1:20-cv-02456-MJM Document 64-1 Filed 02/27/23 Page 112 of 127



       Plaintiff’s Objection: The crux of this case is retaliation and termination so the issues
       of age, race, gender, national origin, and promotion are not relevant, confusing and
       should not be used to screen or disqualify potential jurors.

       Defendant’s Reply: While the issues of retaliation and discrimination are not one in
       the same, panelists that have experienced discrimination in the workplace are very
       likely to be bias toward a victim of retaliation due to the similarities between the
       unlawful practices.

       5.      Do you feel you have made complaints to your employer which go unheard or are
ignored?

       Plaintiff’s Objection: This question is too generic will likely elicit responses from a
       vast majority of potential jurors, such that it is not an effective means to screen for
       potential disqualification or further inquiry.

       Defendant’s Reply: Plaintiff alleges here that she made complaints of sexual
       harassment and was retaliated against. Individual panelists that feel as if they’ve
       made complaints in the workplace and were ignored are likely to exhibit bias. This
       bias is likely directed at Defendant as an employer. This matter is relevant and
       should be explored.


       6.     Have you ever had any training (legal, human resources, etc.) as it pertains to
non-discrimination or retaliation in the workplace?

       Plaintiff’s Objection: None.

        7.      Aside from issues of discrimination, have you ever felt treated unfairly at work
for any other reason?

       Plaintiff’s Objection: This is also a very generic question and will likely elicit
       responses from a vast majority of potential jurors, such that it is not an effective
       question to screen for potential disqualification or further inquiry.

       Defendant’s Reply: Individual panelists that feel as if they’ve been treated unfairly
       in the workplace are likely to exhibit bias. This bias is likely directed at Defendant
       as an employer. This matter is relevant and should be explored.


       8.   Have you heard, or read anything suggesting that Rockwell Fitness is either a
good company to work for or a bad company to work for?

       Plaintiff’s Objection: None.
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        9.      The Judge will instruct you on the law that will guide your decisions. The Judge
may instruct you that a corporation has a right to make decisions – be they right or wrong, good
or bad, sound or unsound, fair or unfair – as long as those decisions are not discriminatory or
retaliatory or otherwise unlawful. Would you have trouble following such an instruction based
on some life experience or feeling about employers or corporations?

       Plaintiff’s Objection: This question depends on whether the Court will include such
       an instruction and is too specific to the Defendant. A better question is whether any
       juror feels like he or she will not be able to follow the instructions given by the
       Court as it pertains to reaching a verdict in this case.

       Defendant’s Reply: Plaintiff’s proposed voir dire question is too generic and is not
       likely to lead to relevant information on whether an individual panelist is likely to
       express bias.

        10.     If, after hearing all the evidence, you determine that Plaintiff has not proven a
causal connection to retaliation against a protected activity, but you think the manner in which
Plaintiff was terminated was unfair (in other words there was something about the termination
that you did not like), would you have any difficulty finding that there was no retaliation?

       Plaintiff’s Objection: This is an improper and confusing question for voir dire as the
       jury has not been instructed as to the elements of Plaintiff’s retaliation claim. If the
       Court were to ask this question, the converse should be asked as well to ensure
       fairness.

       Defendant’s Reply: If Plaintiff seeks to ask the converse of the question, Defendant
       does not object and believes this line of questioning important to determining
       potential bias of panelists.


        11.    Do you think you would be tempted to substitute your own views of company
police for Rockwell’s policy?

       Plaintiff’s Objection: This is a confusing and misleading question because even if
       the company has a policy (the specific policy is not even identified), that does not a
       preclude a verdict in Plaintiff’s favor, nor does it mean that the juror is substituting
       his or her own view over the gym’s policy.

       Defendant’s Reply: Withdrawn.
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                                      Respectfully submitted,


                                          /s/
                                      Jason C. Buckel, Bar Number: 24766
                                      T. Lee Beeman, Jr., Bar Number: 19613
                                      Buckel, Levasseur,
                                      Pillai & Beeman, LLC
                                      206 Washington, Street
                                      Cumberland, Maryland 21502
                                      Tel: (301) 759-3700
                                      Email: lbeeman@blpblaw.com
                                      Counsel for Defendant
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                    ATTACHMENT 9

 Defendant's Proposed Verdict Form with
         Plaintiff’s Objections
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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                               Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

                DEFENDANT’S PROPOSED SPECIAL VERDICT FORM
                       WITH PLAINTIFF’S OBJECTIONS

       Do you find by a preponderance of the evidence that:

1.   That Plaintiff Kimberly Kubas was terminated from her employment by Defendant 331B,
LLC?

       Answer Yes _____ or No _____


2.    That Plaintiff's complaint of sexual harassment by a co-worker was the but for cause for
Defendant 331B, LLC to take that action?

       Answer Yes _____ or No _____

      Note:      If you answered “No” to either Question No. 1 or Question No. 2 you need not
                 answer the remaining question.
3.    That Defendant 331B, LLC had a legitimate, nondiscriminatory reason to terminate the
employment of Plaintiff Kimberly Kubas.

       Answer Yes _____ or No _____

      Note:       If you answered “Yes,” to Question No. 3, you need not answer the remaining
                  questions.]

4.     That Plaintiff Kimberly Kubas should be awarded damages to compensate for a net loss of
wages and benefits to the date of trial?

       Answer Yes _____ or No _____




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       If your answer is “Yes,” in what amount? $__________?
5.     That Plaintiff Kimberly Kubas should be awarded damages to compensate for emotional
pain and mental anguish?

       Answer Yes _____ or No _____

       If your answer is “Yes,” in what amount? $__________?

6.
(a) That an owner of Defendant 331B, LLC acted with malice or reckless indifference to Plaintiff's
federally protected rights?

       Answer Yes _____ or No _____

(b) If your answer is “Yes,” that Defendant 331B, LLC itself did act in a good faith attempt to
comply with the law by adopting policies and procedures designed to prohibit such discrimination
in the workplace?

       Answer Yes _____ or No _____

(c) If your answer is “Yes,” what amount of punitive damages, if any, should be assessed against
Defendant 331B, LLC? $_____________.




                                                      Respectfully submitted,


                                                          /s/
                                                      Jason C. Buckel, Bar Number: 24766
                                                      T. Lee Beeman, Jr., Bar Number: 19613
                                                      Buckel, Levasseur,
                                                      Pillai & Beeman, LLC
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                                                      Counsel for Defendant




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                Plaintiff’s Objections to Defendant’s Proposed Verdict Sheet

       Defendant’s proposed form misapplies the law, omits key facts and is both prejudicial

and confusing. With respect to question 1, the jury is asked whether Ms. Kubas “was terminated

from her employment” even though this is a settled issue and is the law of the case. See

Summary Judgment Order at 13 (“According to Chisholm, Plaintiff’s employment ‘was

terminated because she was in effect stealing from the Gym by being clocked in while attending

to personal matters and not performing work on behalf of Rockwell Fitness.’ (Chisholm Aff. ¶

34, ECF No. 53-1 at 68)”); see also, Def. Ans. To Interrogatory No. 5 (5. Identify and describe in

detail Defendant’s purported legitimate and non-discriminatory reason(s) for terminating

Plaintiff. ANSWER: The decision to terminate Plaintiff’s employment arose out of the discovery

that she was falsifying her time records again by clocking in and recording hours worked when

she was taking care of personal matters and not working for Rockwell, after previously being

instructed not to do so and to strictly comply with company timekeeping policy. Chisholm even

gave Plaintiff the opportunity to give an explanation for why she was clocked in while not

working, but she failed to provide one, or even attempt to make a valid explanation. Plaintiff’s

employment ended because she falsified time – not because of retaliation.”). In short, Mr.

Chisholm’s own affidavit that was submitted in support of Defendant’s Motion for Summary

Judgment and Defendant’s responses to Interrogatory No. 5 plainly states that Ms. Kubas was

terminated from her position. Asking the jury to answer this question is confusing and

unnecessary.

       Defendant’s second question, “That Plaintiff's complaint of sexual harassment by a co-

worker was the but for cause for Defendant 331B, LLC to take that action?” omits a key issue in

this case, specifically, that Ms. Kubas reported that Conway had previously sexually harassed her




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and others and that he was retaliating against her after he found out that she had complained

about his sexual harassment. After Ms. Kubas reported Mr. Conway to the Defendant, she was

terminated shortly thereafter.

       The third question is misleading, “that Defendant 331B, LLC had a legitimate,

nondiscriminatory reason to terminate the employment of Plaintiff Kimberly Kubas,” because it

fails to account for whether Plaintiff has offered evidence of pretext to rebut Defendant’s

articulated justification for her termiantion. This question also misstates the law because

Plaintiff is required to show “but for” causation, whereas, as phrased, Defendants’ question

makes it appear that if it articulated a legitimate non-discriminatory reason for her termination,

then it is not liable for damages. See Summary Judgment Order at 25 (“’A plaintiff may attempt

to demonstrate that a protected activity caused an adverse action [at the prima facie stage]

‘through two routes.’ Id. at 123 (quoting Johnson v. United Parcel Serv., Inc., 839 F. App’x 781,

783‒84 (4th Cir. 2021)). The first route would require the plaintiff to establish facts ‘suggest[ing]

that the adverse action occurred because of the protected activity.’ Id. (quoting Johnson, 839 F.

App’x at 783‒84)”).

       With respect to the fourth question concerning back wages, this issue is in within the

province of the Court, not the jury to award, therefore it is an improper question for the jury.

Hylind v. Xerox Corp., 481 F. App'x 819, 824 (4th Cir. 2012) (“The determination of back pay is

an equitable matter for the judge, not the jury.”); Duke v. Uniroyal Inc., 928 F.2d 1413, 1424

(4th Cir. 1991) (holding that an award of compensation for future lost earnings, or "front pay," is

an equitable matter for the court, not the jury); Lutz v. Glendale Union High Sch., 403 F.3d 1061,

1069 (9th Cir. 2005) (holding that an award of back pay under Title VII "remains an equitable




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remedy to be awarded by the district court in its discretion"); Pals v. Schepel Buick & GMC

Truck, Inc., 220 F.3d 495, 500-01 (7th Cir. 2000) (same, with respect to back pay and front pay).

       With respect to question 6, there are much simpler and less confusing, redundant or

prejudicial ways of asking the jury to determine whether punitive damages are appropriate in this

case. Question 6(b) is duplicative of 6(a) because, presumably, if the jury found that

Defendant’s made good faith attempt to comply with the law, it could not find that it acted with

malice or reckless indifference. Also, it is confusing that if the jury answers “yes” to question

6(b), then it should not proceed to the final question of the amount of punitive damages to award.

       In general, Defendant’s verdict form is unnecessarily complicated and misstates the law.

It also obviates the need for jury instructions which are designed to instruct the jury as to the law

so that it can answer clear questions iin the verdict form regarding Defendant’s liability and the

amount of damages to award, if appropriate.




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                    ATTACHMENT 9a

Defendant’s Response to Plaintiff’s Objections
   to Defendant’s Proposed Verdict Form
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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                               Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

                DEFENDANT’S PROPOSED SPECIAL VERDICT FORM
                       WITH PLAINTIFF’S OBJECTIONS

       Do you find by a preponderance of the evidence that:

                                                                                                   Deleted: 1. That Plaintiff Kimberly Kubas was terminated
                                                                                                   from her employment by Defendant 331B, LLC?¶
                                                                                                   ¶
                                                                                                   Answer Yes _____ or No _____
1.     That Plaintiff's complaint of sexual harassment by a co-worker against herself and others   Deleted: 2
and her complaint that the co-worker was retaliating against her for complaining of sexual
harassment was the but for cause for Defendant 331B, LLC to take that action?

       Answer Yes _____ or No _____

      Note:      If you answered “No” to Question No. 1 you need not answer the remaining          Deleted: either
                 question.                                                                         Deleted: or Question No. 2
2.    That Defendant 331B, LLC had a legitimate, nondiscriminatory reason to terminate the         Deleted: 3
employment of Plaintiff Kimberly Kubas.

       Answer Yes _____ or No _____

3.    That Defendant 331B, LLC’s legitimate, nondiscriminatory reason to terminate the
employment of Plaintiff Kimberly Kubas was a pretext for retaliation.

       Answer Yes _____ or No _____

      Note:       If you answered “No,” to Question No. 3, you need not answer the remaining
                  questions.]

4.     That Plaintiff Kimberly Kubas should be awarded damages to compensate for a net loss of
wages and benefits to the date of trial?



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       Answer Yes _____ or No _____

       If your answer is “Yes,” in what amount? $__________?

5.     That Plaintiff Kimberly Kubas should be awarded damages to compensate for emotional
pain and mental anguish?

       Answer Yes _____ or No _____

       If your answer is “Yes,” in what amount? $__________?

6.
(a) That an owner of Defendant 331B, LLC acted with malice or reckless indifference to Plaintiff’s
federally protected rights?

       Answer Yes _____ or No _____

(b) If your answer is “Yes,” that Defendant 331B, LLC itself did act in a good faith attempt to
comply with the law by adopting policies and procedures designed to prohibit such discrimination
in the workplace?

       Answer Yes _____ or No _____

© If your answer is “Yes,” what amount of punitive damages, if any, should be assessed against
Defendant 331B, LLC? $_____________.




                                                      Respectfully submitted,


                                                          /s/
                                                      Jason C. Buckel, Bar Number: 24766
                                                      T. Lee Beeman, Jr., Bar Number: 19613
                                                      Buckel, Levasseur,
                                                      Pillai & Beeman, LLC
                                                      206 Washington, Street
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                                                      Counsel for Defendant




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                Plaintiff’s Objections to Defendant’s Proposed Verdict Sheet

       Defendant’s proposed form misapplies the law, omits key facts and is both prejudicial

and confusing. With respect to question 1, the jury is asked whether Ms. Kubas “was terminated

from her employment” even though this is a settled issue and is the law of the case. See

Summary Judgment Order at 13 (“According to Chisholm, Plaintiff’s employment ‘was

terminated because she was in effect stealing from the Gym by being clocked in while attending

to personal matters and not performing work on behalf of Rockwell Fitness.’ (Chisholm Aff. ¶

34, ECF No. 53-1 at 68)”); see also, Def. Ans. To Interrogatory No. 5 (5. Identify and describe in

detail Defendant’s purported legitimate and non-discriminatory reason(s) for terminating

Plaintiff. ANSWER: The decision to terminate Plaintiff’s employment arose out of the discovery

that she was falsifying her time records again by clocking in and recording hours worked when

she was taking care of personal matters and not working for Rockwell, after previously being

instructed not to do so and to strictly comply with company timekeeping policy. Chisholm even

gave Plaintiff the opportunity to give an explanation for why she was clocked in while not

working, but she failed to provide one, or even attempt to make a valid explanation. Plaintiff’s

employment ended because she falsified time – not because of retaliation.”). In short, Mr.

Chisholm’s own affidavit that was submitted in support of Defendant’s Motion for Summary

Judgment and Defendant’s responses to Interrogatory No. 5 plainly states that Ms. Kubas was

terminated from her position. Asking the jury to answer this question is confusing and

unnecessary.

       Defendant’s second question, “That Plaintiff’s complaint of sexual harassment by a co-

worker was the but for cause for Defendant 331B, LLC to take that action?” omits a key issue in

this case, specifically, that Ms. Kubas reported that Conway had previously sexually harassed her




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and others and that he was retaliating against her after he found out that she had complained

about his sexual harassment. After Ms. Kubas reported Mr. Conway to the Defendant, she was

terminated shortly thereafter.

       The third question is misleading, “that Defendant 331B, LLC had a legitimate,

nondiscriminatory reason to terminate the employment of Plaintiff Kimberly Kubas,” because it

fails to account for whether Plaintiff has offered evidence of pretext to rebut Defendant’s

articulated justification for her termination. This question also misstates the law because

Plaintiff is required to show “but for” causation, whereas, as phrased, Defendants’ question

makes it appear that if it articulated a legitimate non-discriminatory reason for her termination,

then it is not liable for damages. See Summary Judgment Order at 25 (“’A plaintiff may attempt

to demonstrate that a protected activity caused an adverse action [at the prima facie stage]

‘through two routes.’ Id. At 123 (quoting Johnson v. United Parcel Serv., Inc., 839 F. App’x

781, 783‒84 (4th Cir. 2021)). The first route would require the plaintiff to establish facts

‘suggest[ing] that the adverse action occurred because of the protected activity.’ Id. (quoting

Johnson, 839 F. App’x at 783‒84)”).

       With respect to the fourth question concerning back wages, this issue is in within the

province of the Court, not the jury to award, therefore it is an improper question for the jury.

Hylind v. Xerox Corp., 481 F. App’x 819, 824 (4th Cir. 2012) (“The determination of back pay is

an equitable matter for the judge, not the jury.”); Duke v. Uniroyal Inc., 928 F.2d 1413, 1424 (4th

Cir. 1991) (holding that an award of compensation for future lost earnings, or “front pay,” is an

equitable matter for the court, not the jury); Lutz v. Glendale Union High Sch., 403 F.3d 1061,

1069 (9th Cir. 2005) (holding that an award of back pay under Title VII “remains an equitable




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remedy to be awarded by the district court in its discretion”); Pals v. Schepel Buick & GMC

Truck, Inc., 220 F.3d 495, 500-01 (7th Cir. 2000) (same, with respect to back pay and front pay).

         With respect to question 6, there are much simpler and less confusing, redundant or

prejudicial ways of asking the jury to determine whether punitive damages are appropriate in this

case. Question 6(b) is duplicative of 6(a) because, presumably, if the jury found that

Defendant’s made good faith attempt to comply with the law, it could not find that it acted with

malice or reckless indifference. Also, it is confusing that if the jury answers “yes” to question

6(b), then it should not proceed to the final question of the amount of punitive damages to award.

         In general, Defendant’s verdict form is unnecessarily complicated and misstates the law.

It also obviates the need for jury instructions which are designed to instruct the jury as to the law

so that it can answer clear questions in the verdict form regarding Defendant’s liability and the

amount of damages to award, if appropriate.

                           Defendant’s Reply to Plaintiff’s Objections

         Defendant has incorporated a number of Plaintiff’s objections into the red-lined version

of Defendant’s Proposed Verdict Form. Defendant has based its Verdict Form on a model

included among Federal Jury Practice and Instructions, by O’Malley, et al. and believes it to be

legally sufficient and appropriate. 3C Fed. Jury Prac. & Instr. § 171:101 (6th ed.)(Westlaw

2023).




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